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THIS IS NOT A SOLICITATION OF ACCEPTANCE OR REJECTION OF THE PLAN.
ACCEPTANCE OR REJECTIONS MAY NOT BE SOLICITED UNTIL A DISCLOSURE
STATEMENT HAS BEEN APPROVED BY THE BANKRUPTCY COURT. THIS
DISCLOSURE STATEMENT IS BEING SUMITTED TO THE BANKRUPTCY COURT FOR
APPROVAL BUT HAS NOT YET BEEN APPROVED BY THE BANKRPUTCY COURT.

                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                    LUBBOCK DIVISION

     IN RE:                                                 §
                                                            §
      REAGOR-DYKES MOTORS, LP, et al.1                      § Case No. 18-50214-rlj-11
                                                            § Jointly Administered
                                       Debtors.             §

    MODIFIED DISCLOSURE STATEMENT FOR FIRST AMENDESD JOINT PLAN OF
             REORGANIZATION FOR REAGOR-DYKES AUTO GROUP


                                          (DATED: JULY 1, 2019)

                                            MARCUS A. HELT
                                            C. ASHLEY ELLIS
                                          FOLEY GARDERE
                                      FOLEY & LARDNER LLP
                                    2021 McKinney Avenue, Suite 1600
                                           Dallas, Texas 75201
                                        Telephone: (214) 999.3000
                                           Fax: (214) 999.4667
                                         Email: mhelt@foley.com
                                               aellis@foley.com

                      ATTORNEYS FOR DEBTORS AND DEBTORS-IN-POSSESSION




1 The following Debtors are jointly administrated: Reagor-Dykes Imports, LP (Case No. 18-50215), Reagor-Dykes
Amarillo, LP (Case No. 18-50216), Reagor-Dykes Auto Company, LP (Case No. 18-50217), Reagor-Dykes Plainview, LP
(Case No. 18-50218), and Reagor-Dykes Floydada, LP (Case No. 18-50219), Reagor-Dykes II, LLC (Case No. 18-50323),
Reagor-Dykes III, LLC (Case No. 18-50322), Reagor Auto Mall I LLC (Case No. 18-50325), Reagor Auto Mall, Ltd. (Case
No. 18-50324), Reagor-Dykes Snyder, L.P. (Case No. 18-50321).

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                                   DISCLAIMERS

THIS DISCLOSURE STATEMENT CONTAINS A SUMMARY OF CERTAIN PROVISIONS OF
THE PLAN OF REORGANIZATION OF THE DEBTORS AND DEBTORS-IN-POSSESSION
UNDER CHAPTER 11 OF THE UNITED STATES BANKRUPTCY CODE, A COPY OF
WHICH IS ATTACHED HERETO AS EXHIBIT A, PROPOSED BY THE DEBTORS IN THESE
CHAPTER 11 CASES. THIS DISCLOSURE STATEMENT ALSO CONTAINS SUMMARIES OF
CERTAIN OTHER DOCUMENTS RELATING TO THE CONSUMMATION OF THE PLAN
OR THE TREATMENT OF CLAIMS AND INTERESTS AND CERTAIN FINANCIAL
INORMATION RELATING THERETO.

THE DISCLOSURE STATEMENT INCLUDES CERTAIN EXHIBITS, EACH OF WHICH ARE
INCORPORATED INTO AND MADE A PART OF THIS DISCLOSURE STATEMENT AS IF
SET FORTH IN FULL HEREIN. THE STATEMENTS AND OTHER INFORMATION
CONTAINED IN THIS DISCLOSURE STATEMENT WERE MADE AS OF THE DATE
HEREOF, UNLESS OTHERWISE SPECIFIED. HOLDERS OF CLAIMS AND INTERESTS
REVIEWING THIS DISCLOSURE STATEMENT SHOULD NOT INFER THAT THE FACTS
SET FORTH HEREIN ARE ACCURATE AS OF ANY DATE OTHER THAN THE DATE SET
FORTH ON THE COVER PAGE HEREOF. HOLDERS OF CLAIMS AND INTERESTS MUST
RELY ON THEIR OWN EVALUATION OF THE DEBTORS AND THEIR OWN ANALYSIS
OF THE TERMS OF THE PLAN IN DECIDING WHETHER TO ACCEPT OR REJECT THE
PLAN.

ALL HOLDERS OF CLAIMS AND INTERESTS ENTITLED TO VOTE ON THE PLAN ARE
ENCOURAGED TO READ AND CAREFULLY CONSIDER THIS ENTIRE DISCLOSURE
STATEMENT, INCLUDING THE RISK FACTORS CITED HEREIN AND THE PLAN
ATTACHED HERETO, BEFORE VOTING TO ACCEPT OR REJECT THE PLAN.

THE PLAN PROPONENTS (DEFINED BELOW) ARE PROVIDING THE INFORMATION
IN THE DISCLOSURE STATEMENT SOLELY FOR PURPOSES OF SOLICITING HOLDERS
OF CLAIMS AND INTERESTS TO ACCEPT OR REJECT THE PLAN. NOTHING IN THIS
DISCLOSURE STATEMENT MAY BE USED BY ANY PERSON FOR ANY OTHER
PURPOSE. THE CONTENTS OF THIS DISCLOSURE STATEMENT SHALL NOT BE
DEEMED AS PROVIDING ANY LEGAL, FINANCIAL, SECURITIES, TAX, OR BUSINESS
ADVICE. THE PLAN PROPONENTS URGE EACH HOLDER OF A CLAIM OR INTEREST
TO CONSULT WITH ITS OWN ADVISORS WITH RESPECT TO ANY SUCH LEGAL,
FINANCIAL, SECURITIES, TAX, OR BUSINESS ADVICE IN REVIEWING THIS
DISCLOSURE STATEMENT AND THE PLAN. MOREOVER, THIS DISCLOSURE
STATEMENT DOES NOT CONSTITUTE, AND MAY NOT BE CONSTRUED AS AN
ADMISSION OF FACT, LIABILITY, STIPULATION, OR WAIVER. THE SUMMARY OF THE
PLAN AND OTHER DOCUMENTS DESCRIBED IN THIS DISCLOSURE STATEMENT
ARE QUALIFIED IN THEIR ENTIRETY BY REFERENCE TO THE ACTUAL
DOCUMENTS THEMSELVES AND THE EXHIBITS THERETO.

THE PLAN PROPONENTS BELIEVE THAT THE INFORMATION HEREIN IS ACCURATE
BUT ARE UNABLE TO WARRANT THAT THE INFROMATION IS WITHOUT ANY
INACCURACY OR OMISSION. THE DEBTORS HAVE NOT AUTHORIZED ANY PARTY

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TO GIVE ANY INFORMATION ABOUT OR CONCERNING THE PLAN OR THE
DEBTORS OR THE VALUE OF THEIR PROPERTY, OTHER THAN AS SET FORTH IN
THIS DISCLOSURE STATEMENT. HOLDERS OF CLAIMS AND INTERESTS SHOULD
NOT RELY UPON ANY OTHER INFORMATION, REPRESENTATIONS, OR
INDUCEMENTS MADE TO OBTAIN ACCEPTANCE OR REJECTION OF THE PLAN.

THE BANKRUPTCY COURT’S APPROVAL OF THE ADEQUACY OF THIS DISCLOSURE
STATEMENT DOES NOT CONSTITUTE THE BANKRUPTCY COURT’S APPROVAL OF
THE PLAN. NEITHER THIS DISCLOSURE STATEMENT NOR THE PLAN HAS BEEN
FILED WITH OR REVIEWED BY THE UNITED STATES SECURITIES AND EXCHANGE
COMMISSION UNDER THE SECURITIES ACT OF 1933, OR ANY SECURITIES
REGULATORY AUTHORITY OF ANY STATE UNDER ANY STATE SECURITIES LAW,
THIS DISCLOSURE STATEMENT AND THE PLAN HAVE NOT BEEN APPROVED OR
DISAPPROVED BY THE SECURITY EXCHANGE COMMISSION (“SEC”) OR ANY STATE
SECURITIES COMMISSION. NEITHER THE SEC NOR ANY STATE SECURITIES
COMMISSION HAS PASSED UPON THE ACCURACY OR ADEQUACY OF THE
INFORMATION CONTAINED HEREIN OR THEREIN. NEITHER THE OFFER NOR THE
SALE OF ANY SECURITIES PURSUANT TO THE PLAN HAS BEEN REGISTERED UNDER
THE SECURITIES ACT OR ANY SIMILAR STATE SECURITIES OR “BLUE SKY” LAWS.
ANY SUCH OFFER OR SALE IS BEING MADE IN RELIANCE ON THE EXEMPTIONS
FROM REGISTRATION THEREUNDER SPECIFIED IN SECTION 1145 OF THE
BANKRUPTCY CODE.

THIS DISCLOSURE STATEMENT SUMMARIZES CERTAIN PROVISIONS OF THE PLAN,
CERTAIN OTHER DOCUMENTS, AND CERTAIN FINANCIAL INFORMATION. THE
PLAN PROPONENTS BELIEVE THAT THESE SUMMARIES ARE FAIR AND ACCURATE.
IN THE EVENT OF ANY INCONSISTENCY OR DISCREPANCY BETWEEN A
DESCRIPTION CONTAINED IN THIS DISCLOSURE STATEMENT AND THE TERMS
AND PROVISIONS OF THE PLAN OR THE OTHER DOCUMENTS OR FINANCIAL
INFORMATION INCORPORATED HEREIN BY REFERENCE, THE PLAN, OR SUCH
OTHER DOCUMENTS, AS APPLICABLE, SHALL GOVERN FOR ALL PURPOSES.

EACH HOLDER OF AN IMPAIRED CLAIM OR AN IMPAIRED INTEREST THAT IS
ALLOWED TO VOTE SHOULD REVIEW THE ENTIRE PLAN BEFORE CASTING A
BALLOT. NO PARTY IS AUTHORIZED BY THE BANKRUPTCY COURT TO PROVIDE
ANY INFORMATION WITH RESPECT TO THE PLAN OTHER THAN THAT CONTAINED
IN THIS DISCLOSURE STATEMENT.

INFORMATION INCORPORATED BY REFERENCE INTO THIS DISCLOSURE
STATEMENT SPEAKS AS OF THE DATE OF SUCH INFORMATION OR THE DATE OF
THE REPORT OR DOCUMENT IN WHICH SUCH INFORMATION IS CONTAINED OR AS
OF A PRIOR DATE AS MAY BE SPECIFIED IN SUCH REPORT OR DOCUMENT. ANY
STATEMENT CONTAINED IN A DOCUMENT INCORPORATED BY REFERENCE
HEREIN SHALL BE DEEMED TO BE MODIFIED OR SUPERSEDED FOR ALL PURPOSES
TO THE EXTENT THAT A STATEMENT CONTAINED IN THIS DISCLOSURE
STATEMENT OR IN ANY OTHER SUBSEQUENTLY FILED DOCUMENT WHICH IS ALSO
INCORPORATED OR DEEMED TO BE INCORPORATED BY REFERENCE, MODIFIES

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OR SUPERSEDES SUCH STATEMENT. ANY STATEMENT SO MODIFIED OR
SUPERSEDED SHALL NOT BE DEEMED, EXCEPT AS SO MODIFIED OR SUPERSEDED,
TO CONSTITUTE A PART OF THIS DISCLOSURE STATEMENT.

SOME ASSUMPTIONS INEVITABLY WILL NOT MATERIALIZE. FURTHER, EVENTS
AND CIRCUMSTANCES OCCURRING SUBSEQUENT TO THE DATE ON WHICH THE
FINANCIAL PROJECTIONS WERE PREPARED MAY BE DIFFERENT FROM THOSE
ASSUMED OR, ALTERNATIVELY, MAY HAVE BEEN UNANTICIPATED, AND, THUS,
THE OCCURRENCE OF THESE EVENTS MAY AFFECT FINANCIAL RESULTS IN A
MATERIALLY ADVERSE OR MATERIALLY BENEFICIAL MANNER. THEREFORE, THE
FINANCIAL PROJECTIONS MAY NOT BE RELIED UPON AS A GUARANTEE OR OTHER
ASSURANCE OF THE ACTUAL RESULTS THAT WILL OCCUR.

                                               *******

            DISCLOSURE REGARDING FORWARD-LOOKING STATEMENTS

        This Disclosure Statement contains forward-looking statements within the meaning of Section
27A of the Securities Act and Section 21E of the Securities Exchange Act of 1934, as amended (the
“Exchange Act”). All statements, other than statements of historical facts, included in this Disclosure
Statement that address activities, events or developments that the Plan Proponents expect, project,
believe or anticipate will or may occur in the future are forward-looking statements. These statements
can be identified by the use of forward-looking terminology including “may,” “believe,” “anticipate,”
“estimate,” “continue,” “foresee,” “project,” “could,” or other similar words. These forward-looking
statements may include, but are not limited to, references to procedures in connection with the
Debtors’ bankruptcy cases and the distribution of the Debtors’ assets pursuant to the Plan, the
Debtors’ financial projections and liquidation analysis, and the Debtors’ future operating results.
Forward-looking statements are not guarantees of performance. The Plan Proponents have based
these statements on the Plan Proponents’ assumptions and analyses in light of the Plan Proponents’
experience and perception of historical trends, current conditions, expected future developments and
other factors the Plan Proponents believe are appropriate in the circumstances. No assurance can be
given that these assumptions are accurate. Moreover, these statements are subject to a number of risks
and uncertainties.

        All subsequent written and oral forward looking information attributable to the Debtors is
expressly qualified in its entirety by the foregoing. In light of these risks, uncertainties, and
assumptions, the events anticipated by the Plan Proponents’ forward-looking statements may not
occur, and you should not place any undue reliance on any of the Plan Proponents’ forward-looking
statements. The Plan Proponents’ forward-looking statements speak only as of the date made and the
Plan Proponents undertake no obligation to update or revise their forward-looking statements,
whether as a result of new information, future events or otherwise.

                                           ARTICLE I
                                        INTRODUCTION

        This Disclosure Statement (“Disclosure Statement”) and the accompanying Ballots are being
furnished to you, the holders of Claims against and Interests in the Chapter 11 debtors Reagor Dykes
Motors, LP, Reagor-Dykes Imports, LP, Reagor-Dykes Amarillo, LP, Reagor-Dykes Auto Company,

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LP, Reagor-Dykes Floydada, LP, Reagor-Dykes Plainview, LP, Reagor-Dykes Snyder, L.P., Reagor
Auto Mall, Ltd., Reagor-Dykes Auto Mall I LLC, Reagor-Dykes II, LLC, and Reagor-Dykes III, LLC
(together, the “Debtors” or “Plan Proponents”), pursuant to Section 1125 of the United States
Bankruptcy Code in connection with the solicitation of ballots for the acceptance of the First
Amended Plan of Reorganization (the “Plan”) proposed by the Debtors under chapter 11
(“Chapter 11”) of title 11 of the United States Code (the “Bankruptcy Code”).

Capitalized terms used in this Disclosure Statement and not defined herein shall have their respective
meanings as defined in the Plan or, if not defined in the Plan, as defined in the Bankruptcy Code.

On August 1, 2018, Debtors Reagor-Dykes Motors, LP, Reagor-Dykes Imports, LP, Reagor-Dykes
Amarillo, LP, Reagor-Dykes Auto Company, LP, Reagor-Dykes Floydada, LP, and Reagor-Dykes
Plainview, LP (collectively, the “Original Debtors”) filed voluntary petitions under chapter 11 of the
Bankruptcy Code in the United States Bankruptcy Court, Northern District of Texas, Lubbock
Division (the “Bankruptcy Court”).

On November 2, 2018, Debtors Reagor-Dykes II, LLC, Reagor-Dykes III, LLC, Reagor Auto Mall ,
Ltd.(“RAM”), Reagor Auto Mall I, LLC, and Reagor-Dykes Snyder, L.P. (“Snyder”) (collectively, the
“New Debtors”) filed voluntary petitions under chapter 11 of the Bankruptcy Code in the
Bankruptcy Court. Both the Original Debtors’ Chapter 11 cases and the New Debtors Chapter 11
cases are jointly administered under case number 18-50214 (collectively, the “Chapter 11 Cases”).

The Debtors continue to operate and manage their estates (the “Estates”) as debtors and debtors-in-
possession pursuant to §§ 1107 and 1108 of the Bankruptcy Code. As of the date of the filing of this
Disclosure Statement, no Official Committee(s) of Unsecured Creditors have been appointed by the
Office of the United States Trustee in the Debtors’ cases.

The purpose of this Disclosure Statement is to enable those persons whose Claims against and whose
Interests in the Debtors are Impaired and entitled to vote under the Plan to make an informed decision
on whether to vote for or against the Plan. Holders of Claims should read this Disclosure Statement
and the Plan in their entirety before voting on the Plan. The Disclosure Statement contains a brief
history of the Debtors, a summary of the Chapter 11 Cases, summary of material provisions of the
Plan—including provisions relating to the Plan’s treatment of Claims against and Interests in the
Debtors - a discussion of Plan feasibility, administration of the Estates and Assets, the means of
implementation of the Plan, and a liquidation analysis setting forth what Holders of a Claim against
or Interest in the Debtors would recover if the Debtors were liquidated on the projected effective date
under chapter 7 of the Bankruptcy Code. The Disclosure Statement also summarizes certain financial
information concerning the Debtors and the Claims asserted against the Debtors in the Chapter 11
Cases.

        Section 1.1    Voting Procedure.

No solicitation of votes with respect to the Plan may be made except pursuant to this Disclosure
Statement. No statement or information concerning the Debtors (particularly as to the results or
financial condition of, or with respect to distributions to be made under the Plan) or any of the
Debtors’ assets, properties or business that is given for the purpose of soliciting acceptances or
rejections of the Plan, is authorized other than as set forth in this Disclosure Statement. EXCEPT
FOR THE INFORMATION SET FORTH IN THIS DISCLOSURE STATEMENT AND THE

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 EXHIBITS ATTACHED, NO REPRESENTATIONS CONCERNING THE DEBTORS, THE
 DEBTORS’ ASSETS AND LIABILTIES, THE PAST OR FUTURE OPERATIONS OF THE
 DEBTORS, THE PLAN AND ITS TERMS OR ALTERNATIVES TO THE PLAN ARE
 AUTHORIZED, NOR ARE ANY SUCH REPRESENTATIONS TO BE RELIED ON IN
 ARRIVING AT A DECISION WITH RESPECT TO THE PLAN. ANY INFORMATION
 REGARDING SUCH TOPIC AREAS THAT IS PROVIDED TO SECURE ACCEPTANCE OR
 REJECTION OF THE PLAN AND THAT IS NOT CONTAINED IN THIS DISLOSURE
 STATEMENT AND THE EXHIBITS ATTACHED IS UNAUTHORIZED AND SHOULD BE
 REPORTED IMMEDIATELY TO THE DEBTORS’ COUNSEL.

 While the Debtors believe that the Disclosure Statement contains adequate information about the
 documents and information summarized, Holders of Claims and Holders of Interests should review
 the entire Plan and each document referenced therein and herein, and should seek the advice of their
 own counsel and other advisors before voting on the Plan. In the event of any inconsistencies between
 the provisions of the Plan and this Disclosure Statement, the provisions of the Plan shall control. A
 copy of the Plan is attached as Exhibit “A” to this Disclosure Statement. Certain provisions of the
 Plan—and, therefore descriptions and summaries contained in this Disclosure Statement—may be
 the subject of continuing negotiations among the Debtors and various parties, may not have been
 finally agreed, and may be modified. However, such modifications will not have a material effect on
 the distributions contemplated by the Plan.

 After carefully reviewing this Disclosure Statement and all exhibits and schedules attached hereto,
 please indicate your acceptance or rejection of the Plan by voting in favor of or against the Plan on
 the enclosed Ballot. The Plan Proponents strongly urge each recipient entitled to vote on the Plan to
 review carefully the contents of this Disclosure Statement, the Plan, and the other documents that
 accompany or are referenced in this Disclosure Statement in their entirety before making a decision
 to accept or reject the Plan.

 IT IS OF THE UTMOST IMPORTANCE TO THE PLAN PROPONENTS THAT YOU
 VOTE PROMPTLY TO ACCEPT THE PLAN BY COMPLETING AND SIGNING THE
 BALLOT ENCLOSED HEREWITH AND RETURNING THE BALLOTS PROMPTLY
 SO THAT THEY ARE STAMPED AS HAVING BEEN RECEIVED BY NO LATER
 THAN 5:00 P.M., CENTRAL STANDARD TIME, ON ________________, 2019 (THE
 “VOTING DEADLINE”) AT THE FOLLOWING ADDRESS, AS SET FORTH ON THE
 ENCLOSED RETURN ENVELOPE:

                               REAGOR DYKES BALLOTS
                        ATTN: MARCUS A. HELT AND ASHLEY ELLIS

                      C/O FOLEY GARDERE, FOLEY & LARDNER LLP
                          2021 MCKINNEY AVENUE, SUITE 1600
                                   DALLAS, TX 75201

 THE PLAN PROPONENTS BELIEVE THAT ACCEPTANCE OF THE PLAN IS IN
 THE BEST INTERESTS OF ALL CLAIMANTS OF THE DEBTORS AND,
 CONSEQUENTLY, THE PLAN PROPONENTS URGE ALL CLAIMANTS TO VOTE
 TO ACCEPT THE PLAN.


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 Ballots that are received after the Voting Deadline may not be used in connection with the Plan
 Proponents’ request for confirmation of the Plan or any modification thereof, except to the extent
 allowed by the Bankruptcy Court.

 This Disclosure Statement has been compiled by the Plan Proponents to accompany the Plan. The
 factual statements, projections, financial information, and other information contained in this
 Disclosure Statement have been taken primarily from documents prepared by the Debtors, including
 the Debtors’ Schedules and Statement of Financial Affairs, the Debtors’ Monthly Operating Reports,
 and pleadings filed in the Bankruptcy Case. Nothing contained in this Disclosure Statement shall have
 any preclusive effect against the Plan Proponents (whether by waiver, admission, estoppel, or
 otherwise) in any cause or proceeding which may exist or occur in the future. This Disclosure
 Statement shall not be construed or deemed to constitute an acceptance of fact or an admission by
 the Plan Proponents with regard to any of the statements made herein, and all rights and remedies of
 the Plan Proponents are expressly reserved in this regard. This Disclosure Statement contains
 statements which constitute the Plan Proponents’ or other third parties’ views of certain facts. All
 such disclosures should be read as assertions of such parties. To the extent any paragraph does not
 contain an express reference that it constitutes an assertion of a particular party, it should be read as
 an assertion of the party indicated by the context and meaning of such paragraph.

 THE STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT ARE MADE
 EITHER AS OF THE PETITION DATE OR THE DATE HEREOF UNLESS ANOTHER
 TIME IS SPECIFIED HEREIN, AND NEITHER DELIVERY OF THIS DISCLOSURE
 STATEMENT NOR ANY EXERCISE OF RIGHTS GRANTED IN CONNECTION WITH
 THE PLAN SHALL, UNDER ANY CIRCUMSTANCES, CREATE AN IMPLICATION THAT
 THERE HAS BEEN NO CHANGE IN THE INFORMATION SET FORTH HEREIN SINCE
 THE DATE OF THIS DISCLOSURE STATEMENT.

 CERTAIN OF THE INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT,
 BY ITS NATURE, IS FORWARD LOOKING, CONTAINS ESTIMATES AND ASSUMPTIONS
 WHICH MAY PROVE TO BE INACCURATE, AND CONTAINS PROJECTIONS WHICH
 MAY PROVE TO BE WRONG, OR WHICH MAY BE MATERIALLY DIFFERENT FROM
 ACTUAL FUTURE RESULTS. EACH CLAIMANT SHOULD INDEPENDENTLY VERIFY
 AND CONSULT ITS INDIVIDUAL ATTORNEY AND ACCOUNTANT AS TO THE EFFECT
 OF THE PLAN ON SUCH INDIVIDUAL CLAIMANT OR INTEREST HOLDER.

 Pursuant to the Disclosure Statement Order (“Exhibit D”), the hearing on the Confirmation of the
 Plan is set for [                          ]a/p.m., Central Standard Time, in the Courtroom of the
 Honorable Robert L. Jones, United States Bankruptcy Judge, United States Bankruptcy Court for the
 Northern District of Texas, Lubbock Division, 1205 Texas Ave., Room 306, Lubbock, Texas 79401.
 Objections to the Confirmation of the Plan must be filed with the Bankruptcy Court and received by
 counsel for the Plan Proponents on or before [___________________________], 2019. Counsel for
 the Plan Proponents will request Confirmation of the Plan at the Confirmation Hearing.

 Counsel for the Plan Proponents strongly urges each recipient entitled to vote on the Plan to review
 carefully the contents of this Disclosure Statement, the Plan, and the other documents that accompany
 or are referenced in this Disclosure Statement in their entirety before making a decision to accept or
 reject the Plan.


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         Section 1.2     Explanation of Chapter 11.

         Chapter 11 is the principal reorganization chapter of the Bankruptcy Code. Under Chapter 11,
 a person or entity attempts to reorganize its business and financial affairs for the benefit of its
 creditors, shareholders and other interested parties.

         The commencement of a Chapter 11 case creates an estate comprising all of a debtor’s legal
 and equitable interests in property as of the date the petition is filed. Unless the bankruptcy court
 orders the appointment of a Chapter 11 trustee, Bankruptcy Code sections 1101, 1107 and 1108
 provide that a chapter 11 debtor may continue to operate its business and control the assets of its
 estate as a “debtor-in-possession” as the Debtors have done in these Chapter 11 Cases since the
 Petition Date.

         The filing of a Chapter 11 petition also triggers the automatic stay under section 362 of the
 Bankruptcy Code. The automatic stay is an injunction that halts essentially all attempts to collect pre-
 petition claims from the Debtors or to otherwise interfere with a Debtors’ business or their estates.

          Formulation of a plan of reorganization is the principal purpose of a Chapter 11 bankruptcy
 case. The plan sets forth the means for satisfying the claims of creditors against, and interests of equity
 security holders in, the Debtors. Unless a trustee is appointed, only the Debtors may file a plan during
 the first 120 days of a Chapter 11 case (the “Exclusive Period”). Only after the Exclusive Period has
 expired or is terminated by the Bankruptcy Court, a creditor or any other interested party may file a
 plan, unless the Debtors file a plan within the Exclusive Period or receives an extension of such period
 by order of the Bankruptcy Court. If the Debtors file a plan within the Exclusive Period, the Debtors
 are given sixty (60) additional days (the “Solicitation Period”) to solicit acceptances of its plan.
 Bankruptcy Code section 1121(d) permits the Bankruptcy Court to extend or reduce the Exclusive
 Period and the Solicitation Period upon a showing of adequate “cause.”

         After the plan has been filed, the holders of impaired claims against, or interests in, a debtor
 are permitted to vote on whether to accept or reject the plan. Chapter 11 does not require that each
 holder of a claim against, or interest in, a debtor vote in favor of a plan in order for the plan to be
 confirmed. At a minimum, however, a plan must be accepted by a majority in number (i.e., more than
 50%) and at least two-thirds (2/3) in amount of those claims actually voting, from at least one class
 of impaired claims under the plan, to the extent that there are any impaired classes. The Bankruptcy
 Code also defines acceptance of a plan by a class of interests (equity securities) as acceptance by
 holders of at least two-thirds of the number of interests that actually voted.

          Classes of claims or interests that are not “impaired” under a plan of reorganization are
 conclusively presumed to have accepted the plan, and therefore are not entitled to vote. A class is
 “impaired” if the plan modifies the legal, equitable, or contractual rights attaching to the claims or
 interests of that class. Modification for purposes of impairment does not include curing defaults and
 reinstating maturity or payment in full in cash. Conversely, classes of claims or interests that receive
 or retain no property under a plan of reorganization are conclusively presumed to have rejected the
 plan, and therefore are not entitled to vote.

        Even if all classes of claims and interests accept a plan of reorganization, a bankruptcy court
 may nonetheless still deny confirmation. Bankruptcy Code section 1129 sets forth the requirements
 for confirmation and, among other things, requires that a plan be in the “best interests” of impaired

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 and dissenting creditors and interest holders and that the plan be feasible. The “best interests” test
 generally requires that the value of the consideration to be distributed to impaired and dissenting
 creditors and interest holders under a plan may not be less than those parties would receive if the
 debtor were liquidated under a hypothetical liquidation occurring under chapter 7 of the Bankruptcy
 Code. A plan must also be determined to be “feasible,” which generally requires a finding that there
 is a reasonable probability that the debtor will be able to perform the obligations incurred under the
 plan and that the debtor will be able to continue operations without the need for further financial
 reorganization.

         A bankruptcy court may confirm a plan of reorganization even though fewer than all of the
 classes of impaired claims and interests vote to accept such plan. A bankruptcy court may do so under
 the “cramdown” provisions of section 1129(b) of the Bankruptcy Code. In order for a plan to be
 confirmed under the “cramdown” provisions, despite the rejection of a class of impaired claims or
 interests, the plan proponent must show, among other things, that the plan does not discriminate
 unfairly and that it is “fair and equitable” with respect to impaired classes of claims or interests that
 have not accepted the plan.

           A bankruptcy court must further find that the economic terms of the plan meet the specific
 requirements of Bankruptcy Code section 1129(b) with respect to the subject objecting class(es). If
 the plan proponent proposes to seek confirmation of the plan under the provisions of Bankruptcy
 Code section 1129(b), the plan proponent must also meet all applicable requirements of Bankruptcy
 Code section 1129(a) (except section 1129(a)(8)). Those requirements include, among other things,
 that (i) the plan complies with applicable Bankruptcy Code provisions and other applicable law, and
 that (ii) the plan be proposed in good faith.

         Section 1.3      Rules of Interpretation.

        The following rules for interpretation and construction shall apply to the Disclosure
 Statement:

                     a)   all terms defined in the Plan shall carry the same definitions in
                          the Disclosure Statement unless otherwise defined herein;

                     b)   whenever from the context it is appropriate, each term,
                          whether stated in the singular or the plural, shall include both
                          the singular and the plural, and pronouns stated in the
                          masculine, feminine, or neuter gender shall include the
                          masculine, feminine, and the neuter gender;

                     c)   unless otherwise specified, any reference in the Disclosure
                          Statement to a contract, instrument, release, or other
                          agreement or document being in a particular form or on
                          particular terms and conditions means that such document
                          shall be substantially in such form or substantially on such
                          terms and conditions;

                     d)   unless otherwise specified, any reference in the Disclosure
                          Statement to an existing document, schedule, or exhibit,

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                          whether or not filed, shall mean such document, schedule, or
                          exhibit, as it may have been or may be amended, modified, or
                          supplemented;

                     e)   any reference to a person or entity as a holder of a Claim or
                          Interest includes that person or entity’s successors and assigns;

                     f)   unless otherwise specified, all references in the Disclosure
                          Statement to Articles are references to Articles of the
                          Disclosure Statement;

                     g)   unless otherwise specified, all references in the Disclosure
                          Statement to exhibits are references to exhibits to the
                          Disclosure Statement;

                     h)   the words “herein,” “hereof,” and “hereto” refer to the
                          Disclosure Statement in its entirety rather than to a particular
                          portion of the Disclosure Statement;

                     i)   captions and headings to Articles are inserted for convenience
                          of reference only and are not intended to be a part of or to
                          affect the interpretation of the Disclosure Statement;

                     j)   unless otherwise set forth in the Disclosure Statement, the
                          rules of construction set forth in section 102 of the Bankruptcy
                          Code shall apply;

                     k)   any term used in capitalized form in the Disclosure Statement
                          that is not otherwise defined in the Disclosure Statement, Plan,
                          or exhibits to the Disclosure Statement Order, but that is used
                          in the Bankruptcy Code or the Bankruptcy Rules shall have the
                          meaning assigned to such term in the Bankruptcy Code or the
                          Bankruptcy Rules, as applicable;

                     l)   all references to docket numbers of documents filed in the
                          Chapter 11 Cases are references to the docket numbers under
                          the Bankruptcy Court’s CM/ECF system;

                     m)   all references to statutes, regulations, orders, rules of courts,
                          and the like shall mean as amended from time to time, unless
                          otherwise stated;

                     n)   in computing any period of time prescribed or allowed, the
                          provisions of Bankruptcy Rule 9006(a) shall apply, and if the
                          date on which a transaction may occur pursuant to the
                          Disclosure Statement shall occur on a day that is not a Business
                          Day, then such transaction shall instead occur on the next
                          succeeding Business Day; and,

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                     o)      unless otherwise specified, all references in the Disclosure
                             Statement to monetary figures shall refer to currency of the
                             United States of America.

         Section 1.4         Recommendation of the Proponents to Approve the Plan.

         The Proponents approved the solicitation of acceptances of the Plan and all of the transactions
 contemplated thereunder. In light of the benefits to be attained by the holders of Claims and Interests
 contemplated under the Plan, the Proponents recommends that such holders of Claims and Interests
 vote to accept the Plan. The Proponents reached this decision after considering the alternatives to the
 Plan that are available to the Debtors. These alternatives include liquidation under chapter 7 of the
 Bankruptcy Code or some alternative plan. The Proponents determined, after consulting with their
 advisors, that the transactions contemplated in the Plan would likely result in a distribution of greater
 value to creditors and stockholders than the alternatives.

 THE PROPONENTS BELIEVE THAT THE PLAN AND THE TREATMENT OF CLAIMS
 AND INTERESTS THEREUNDER IS IN THE BEST INTERESTS OF HOLDERS OF CLAIMS
 AND INTERESTS.

                                                 ARTICLE II
                                                 SUMMARY

          This Disclosure Statement sets forth certain information regarding the Debtors’ prepetition
 operating and financial history, the need to seek Chapter 11 protection, significant events that have
 occurred during the Chapter 11 Cases. This Disclosure Statement also describes terms and provisions
 of the Plan, including certain alternatives to the Plan, certain effects of confirmation of the Plan,
 certain risk factors associated with the Plan, and the manner in which distributions will be made under
 the Plan. In addition, this Disclosure Statement discusses the confirmation process and the voting
 procedures that Creditors in voting classes must follow for their votes to be counted. Certain
 provisions of the Plan, and thus the descriptions and summaries contained in this Disclosure
 Statement, may be the subject of continuing negotiations among the Plan Proponents and various
 parties, may not have been finally agreed upon, and may be modified.

         The Debtors are the proponents of the Plan within the meaning of Section 1129 of the
 Bankruptcy Code. The Plan contains separate Classes and proposes recoveries for holders of Claims
 against and Interests in the Debtors. After careful review of the Debtors’ current business operations
 and estimated recoveries in a liquidation scenario under Chapter 7 of the Bankruptcy Code, the Plan
 Proponents have concluded that the recovery to Creditors will be maximized by the reorganization or
 controlled liquidation of the Debtors as contemplated by the Plan. For your convenience, the
 following is a summary of certain material terms of the Plan. The Plan Proponents encourage you to
 read the Plan in its entirety. The Plan is a comprehensive proposal by the Plan Proponents that
 provides for the following:

         Section 2.1         Alternative Paths to Confirmation

                          This Plan provides two (2) alternative paths to confirmation and a
                          successful exit from Chapter 11 for the Debtors: the Successful
                          Completion at the end of the Reorganization Process that yields a

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                        Restructuring, or a controlled liquidation of assets via the
                        Liquidation Alternative. The Debtors believe that a Restructuring
                        would yield the highest and best return for all creditors and parties
                        in interest but, if the Debtors determine at any time – pre-
                        Confirmation or post-Confirmation – that despite their best
                        efforts the Reorganization Process will not result in a Successful
                        Completion and Restructuring, the Liquidation Alternative shall
                        take effect.

        Section 2.2 Plan and Treatment of Claims – Restructuring Alternative. Under the
 Restructuring Alternative, the Plan will effectuate a reorganization of the Dealerships, the business,
 and the operations. Pursuant to the terms of the Plan and a Restructuring:

                     a) The Dealerships will be recapitalized by the Plan Sponsor or its
                        designee. The Reorganized Debtors will retain their operating
                        assets together with Causes of Action not resolved by this Plan,
                        and will continue to operate their business under a name selected
                        by the Plan Sponsor.

                     b) The franchise agreements with Ford Motor, General Motors, and
                        Toyota will be assumed in the Plan.

                     c) Post-confirmation, the Reorganized Debtors will benefit from the
                        proven operational expertise of Fin Ewing and his consulting
                        group (collectively, the “Fin Ewing Group”). The Fin Ewing
                        Group will provide consulting services to the Reorganized
                        Debtors. These consulting services will help the Reorganized
                        Debtors accomplish their long-term business and financial goals as
                        outlined in the Plan.

                     d) The Plan Sponsor and the directors and officers of the
                        Reorganized Debtors will be identified in the Plan Supplement
                        Documents.

                     e) The Reorganized Debtors are expected to receive up to $14 mm
                        in cash (the “New Equity Infusion”) from the Plan Sponsor.
                        The New Equity Infusion may be a combination of (i) debtor-in-
                        possession financing approved by the Bankruptcy Court and
                        received by the Debtors before the Confirmation in a yet-to-be-
                        determined amount and (ii) equity financing received by the
                        Debtors after the Confirmation.

                     f) The New Equity Infusion will be used as follows: (i) approximately
                        $4.750 million as initial post-confirmation working capital on an
                        as-needed basis; (ii) pay all allowed, administrative expenses of the
                        Estates, which such expenses are estimated to be approximately $5
                        million; (iii) approximately $.750 million to Qualified Retail
                        Lenders in Class 9; (v) up to approximately $2 million to Ford

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                        Credit from Excess Cash Flow; and (v) up to approximately $1.5
                        million to GM Financial if GM Financial provides floorplan
                        financing to the Reorganized Debtors.

                     g) The equity of the Reorganized Debtors will be owned (i) 90% by
                        the Plan Sponsor or its designee and (ii) 10% by a Creditors Trust
                        for the express benefit of creditors holding Allowed Class 11
                        General Unsecured Claims.

                     h) Each Allowed Class 11 Claim will receive a beneficial interest in
                        the Creditors Trust.

                     i) Each beneficial interest and the 10% equity will be subject to a
                        redemption right that will allow the Reorganized Debtors to
                        redeem this equity upon payment in full of the Allowed amount of
                        Unsecured Claims converted to equity or such amount agreed by
                        the holders of such Unsecured Claims and the Reorganized
                        Debtors. Each Class 11 Creditor will also receive its Pro Rata
                        Share of Litigation Proceeds.

                     j) The Creditors Trust will make distributions to all Allowed
                        Unsecured Claims in Class 11 pursuant to the terms and conditions
                        of this Plan and a Creditors Trust Agreement.

                     k) The Reorganized Debtors will assume certain unsecured Assumed
                        Trade Claims under this Plan. The identity of such assumed
                        unsecured Assumed Trade Claims will be disclosed in the Plan
                        Supplement. Such Assumed Trade Claims will be treated in Class
                        10 and will not participate in Class 11.

                     l) Ford Credit’s secured claim will be paid in full by surrender of
                        Collateral.

                     m) Ford Credit’s unsecured claim will be paid by (i) a $2 million cash
                        payment within 180 days after the Effective Date and (ii) a $5
                        million unsecured promissory note. The $5 million unsecured
                        promissory note will have the following terms: (i) 10-year
                        amortization, (ii) 7-year balloon payment, (iii) 6.5% interest per
                        annum, (iv) payment-in-kind interest for 12 months, and (v)
                        payable thereafter from Excess Cash Flow. This treatment will
                        only apply if the Restructuring Alternative is implemented. If the
                        Liquidation Alternative is implemented, then Ford Credit’s
                        unsecured claim will be a Disputed Claim, and, to the extent
                        Allowed, Ford Credit’s unsecured claim will be treated in Class 12
                        and will receive a Pro Rata Share of Creditors Trust Assets. Under
                        the Liquidation Alternative, all Causes of Action against Ford
                        Credit are preserved under this Plan. Ford Credit will not
                        participate in Class 10 or Class 11.

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                     n) GM Financial secured claim will be paid in full by surrender of
                        Collateral.

                     o) GM Financial’s unsecured claim will be paid as follow: As a
                        settlement and full and final satisfaction and release of all
                        unsecured claims, GM Financial will receive $1.5 mm in cash
                        within 180 days after the Effective Date. Payment of this
                        unsecured claim is subject to and contingent on (i) GM Financial
                        providing floorplan financing to the Reorganized Debtors on
                        mutually agreed terms, (ii) the assumption of the Debtors’
                        franchise agreement with General Motors and (iii) implementation
                        of the Restructuring Alternative under the Plan. If the Liquidation
                        Alternative is implemented, then GM Financial’s unsecured claim
                        will be a Disputed Claim, and, to the extent Allowed, GM
                        Financial’s unsecured claim will be treated in Class 13 and will
                        receive a Pro Rata Share of Creditors Trust Assets. Under the
                        Liquidation Alternative, all Causes of Action against GM Financial
                        are preserved under this Plan. GM Financial will not participate in
                        Class 10 or Class 11.

                     p) First Capital Bank’s secured claim will be paid as follows: In full
                        and final satisfaction of all First Capital’s secured claims against the
                        Debtors, First Capital Bank will receive (a) the net proceeds from
                        the liquidation of collateral after payment of (i) all fees incurred
                        and (ii) expenses reimbursed related to the liquidation of such
                        collateral, or (b) surrender of collateral.

                     q) First Capital Bank’s unsecured claim is a Disputed Claim. To the
                        extent Allowed, First Capital Bank’s unsecured claim will be
                        treated in Class 11 and paid as follows: In full and final satisfaction
                        and release of all First Capital’s unsecured claims against the
                        Debtors, First Capital Bank will receive its Pro Rata Share of
                        Creditors Trust Assets, which includes 10% equity securities of the
                        Reorganized Debtors. All Causes of Action against First Capital
                        Bank are reserved under this Plan.

                     r) FB&T’s secured claim will be paid as follows: In full and final
                        satisfaction of all secured claims against the Debtors, FB&T will
                        receive (a) the net proceeds from the liquidation of collateral after
                        payment of (i) all fees incurred and (ii) expenses reimbursed related
                        to the liquidation of such collateral, or (b) surrender of collateral.

                     s) FB&T’s unsecured claim is a Disputed Claim. To the extent
                        Allowed, FB&T’s unsecured claim will be treated in Class 11 and
                        paid as follows: In full and final satisfaction and release of all
                        FB&T’s unsecured claims against the Debtors, FB&T will receive
                        its Pro Rata Share of Creditors Trust Assets, which includes 10%


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                         equity securities of the Reorganized Debtors. All Causes of Action
                         against FB&T are reserved under this Plan.

                     t) Pursuant to the Plan, the Dealerships or Locations will be operated
                        on the same real estate where the Dealerships or Locations were
                        operated prior to and during the bankruptcy case. That real estate
                        is now owned by IBC Bank. IBC Bank has given Rick Dykes and
                        his assigns a right of first refusal to purchase the real estate at
                        mutually-agreed and confidential “strike prices.” To facilitate the
                        proposed Restructuring, Rick Dykes has agreed to assign his right
                        of first refusal to the Reorganized Debtors to implement the
                        Restructuring Alternative.

                     u) Each Qualified Retail Lender who (i) executes a TT&L Agreement,
                        (ii) provides the Reorganized Debtors with proof of payment of a
                        TT&L/Trade Liability, and (iii) agrees to provide future retail
                        lending to the Reorganized Debtors on terms mutually acceptable
                        to the Reorganized Debtors and said Retail Lender, thereby
                        becoming a Qualified Retail Lender, will be reimbursed their Pro
                        Rata Share for payment of the Debtors’ TT&L/Trade Liability
                        either (x) within sixty (60) days after the Effective Date if funds are
                        immediately available or (y) via receipt of an unsecured promissory
                        note payable by the Reorganized Debtors at 3% interest per annum
                        with a two-year term. Such reimbursement will be made from the
                        Qualified Retail Lender Pool. This Qualified Retail Lender Pool
                        will be up to $.750 million.

                     v) Allowed Administrative Claims will be paid at or before the
                        Effective Date, or on such terms as the Reorganized Debtors and
                        the holder of an Allowed Administrative Claim may otherwise
                        agree.

         Section 2.3 Plan and Treatment of Claims – Liquidation Alternative. Under the
         Liquidation Alternative, the Plan will effectuate an orderly wind down of the Debtors’ business
         operations, a controlled liquidation of all Collateral, and the transfer of all Causes of Action
         to the Liquidation Trust. Pursuant to the terms of the Plan and the Liquidation Alternative:

                      a) A Liquidation Trust will be established and the Liquidation Trustee
                         will be appointed upon Confirmation.

                      b) All Assets, including Causes of Action, and all rights to challenge
                         the extent, priority and validity of alleged liens, and all Collateral
                         not surrendered under the terms of this Plan will be transferred to
                         the Liquidation Trust and the Liquidation Trustee.

                      c) All Holders of Allowed Unsecured Claims will receive a beneficial
                         interest in the Liquidation Trust equal to the pro rata amount of
                         their Allowed Unsecured Claim, and the Liquidation Trustee will

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                        make distributions to all Allowed Unsecured Claims in Class 11
                        pursuant to the terms and conditions of this Plan and a Liquidation
                        Trust Agreement.

                     d) Ford Credit’s Allowed Secured Claim will be paid in full by
                        surrender of Collateral.

                     e) Ford Credit’s Unsecured Claim is a Disputed Claim. To the extent
                        Allowed, Ford Credit’s Unsecured Claim will be treated in Class 12
                        and paid as follows: In full and final satisfaction and release of all
                        Ford Credit’s Unsecured Claims against the Debtors, Ford Credit
                        will receive its Pro Rata Share of the Liquidation Trust Assets. All
                        Causes of Action against Ford Credit are reserved under this Plan.

                     f) GM Financial’s secured claim will be paid as follows: In full and
                        final satisfaction of all secured claims against the Debtors, GM
                        Financial will receive (a) the net proceeds from the liquidation of
                        Collateral after payment of (i) all fees incurred and (ii) expenses
                        reimbursed related to the liquidation of such collateral, or (b)
                        surrender of Collateral.

                     g) GM Financial’s Unsecured Claim is a Disputed Claim. To the
                        extent Allowed, GM Financial’s Unsecured Claim will be treated
                        in Class 13 and paid as follows: In full and final satisfaction and
                        release of all GM Financial’s Unsecured Claims against the
                        Debtors, GM Financial will receive its Pro Rata Share of the
                        Liquidation Trust Assets. All Causes of Action against GM
                        Financial are reserved under the Liquidation Alternative in this
                        Plan.

                     h) FB&T’s secured claim is a Disputed Claim. To the extent Allowed,
                        FB&T’s Secured Claim will be paid as follows: In full and final
                        satisfaction of all secured claims against the Debtors, FB&T will
                        receive (i) the net proceeds from the liquidation of collateral after
                        payment of (x) all fees incurred and (y) expenses reimbursed
                        related to the liquidation of such collateral, or (ii) surrender of
                        collateral.

                     i) FB&T’s unsecured claim is a Disputed Claim. To the extent
                        Allowed, FB&T’s unsecured claim will be treated in Class 11 and
                        paid as follows: In full and final satisfaction and release of all
                        FB&T’s unsecured claims against the Debtors, FB&T will receive
                        its Pro Rata Share of the Liquidation Trust Assets. All Causes of
                        Action against FB&T are reserved under this Plan.

                     j) The Liquidation Trust shall make distributions to Holders of
                        Allowed Class 11 Unsecured Claims of their Pro Rata Share
                        (calculated together with Allowed Claims in Classes 12, 13, 14 and

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                      15) of the Liquidation Trust Assets.

           Regardless of the alternative, all Causes of Action are hereby preserved.

           Creditors holding Allowed Claims shall receive the following treatment under the Plan:

                  CLAIMANT                 TREATMENT:                          TREATMENT:
                                          RESTRUCTURING                        LIQUIDATION
  CLASS                                    ALTERNATIVE                         ALTERNATIVE

      1.      ALLOWED                 Shall receive (i) Cash in an      Shall receive (i) Cash in an
              PRIORITY NON-           amount equal to the Allowed       amount equal to the Allowed
              TAX CLAIMS              amount of such Priority Non-      amount of such Priority Non-
                                      Tax Claim on the Effective        Tax Claim on the Effective
                                      Date or (ii) other treatment      Date or (ii) other treatment
                                      consistent with the provisions    consistent with the provisions
                                      of § 1129(a)(9) of the            of § 1129(a)(9) of the
                                      Bankruptcy Code; provided,        Bankruptcy Code.
                                      however, that Priority Non-Tax
                                      Claims that arise in the
                                      ordinary course of the
                                      Debtors’ business shall be paid
                                      by the Debtors or the
                                      Reorganized Debtors, as
                                      applicable, in the ordinary
                                      course of business.

    1A.       ALLOWED 9019 Shall receive Cash as soon                   Shall receive Cash as soon
              LUBBOCK      reasonably practicable when                  reasonably practicable when
              COUNTY CLAIM funds are available after the                funds are available after the
                           Effective Date consistent with               Effective Date consistent with
                           the 9019 Order.                              the 9019 Order.


     2.       SECURED       Ford Credit’s Class 2 Claim                 Ford Credit’s Class 2 Claim will
              CLAIM OF FORD will be paid by surrender of the            be paid by surrender of the
              CREDIT        Collateral.                                 Collateral.
              COMPANY, LLC
                            The amount, validity, extent,               The amount, validity, extent,
                            value, and priority of the                  value, and priority of the
                            Allowed Secured Class 2 Claim               Allowed Secured Class 2 Claim
                            under § 506 of the Bankruptcy               under § 506 of the Bankruptcy
                            Code will be determined by the              Code will be determined by the
                            Bankruptcy Court after the                  Bankruptcy Court after the
                            Effective Date or pursuant to               Effective Date. Any Deficiency
                            an agreement between the                    Claim or other Unsecured
                            Reorganized Debtors and the                 Claim of the Holder of the

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                 CLAIMANT            TREATMENT:                    TREATMENT:
                                  RESTRUCTURING                    LIQUIDATION
  CLASS                              ALTERNATIVE                  ALTERNATIVE
                              Holder of the Class 2 Claim. Class 2 Claim shall be treated in
                              Any Deficiency Claim or other Class 12.
                              Unsecured Claim of the
                              Holder of the Class 2 Claim
                              shall be treated in Class 12.


     3.      SECURED          The Class 3 Claim will be         In full and final satisfaction of
             CLAIM OF GM      satisfied in full and final       all secured claims against the
             FINANCIAL        satisfaction,       settlement,   Debtors, GM Financial will
                              release, and discharge of such    receive (a) the net proceeds
                              Class 3 Claim (a) pursuant to     from the liquidation of
                              an agreement between the          Collateral after payment of (i)
                              Reorganized Debtors and the       all fees incurred and (ii)
                              Holder of Class 3 Claim or (b)    expenses reimbursed related to
                              if no agreement is reached, at    the liquidation of such
                              the Reorganized Debtors’ sole     collateral, or (b) surrender of
                              and absolute option, (i) the      Collateral.
                              GM Financial Secured Note,
                              (ii) the net proceeds from the The amount, validity, extent,
                              liquidation of collateral aftervalue, and priority of the
                              payment of all fees incurred   Allowed Secured Class 3 Claim
                              and      expenses reimbursed   under § 506 of the Bankruptcy
                              related to the liquidation of  Code will be determined by the
                              such collateral, or (iii)      Bankruptcy Court after the
                              surrender of collateral.       Effective Date. Any Deficiency
                                                             Claim or other Unsecured
                              The amount, validity, extent, Claim of the Holder of the
                              value, and priority of the Class 3 Claim shall be treated in
                              Allowed Secured Class 3 Claim Class 13.
                              under § 506 of the Bankruptcy
                              Code will be determined by the
                              Bankruptcy Court after the
                              Effective Date or pursuant to
                              an agreement between the
                              Reorganized Debtors and the
                              Holder of the Class 3 Claim.
                              Any Deficiency Claim or other
                              Unsecured Claim of the
                              Holder of the Class 3 Claim
                              shall be treated in Class 13.

     4.                       The Class 4 Claim will be
                              satisfied in full and final

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                 CLAIMANT             TREATMENT:                        TREATMENT:
                                   RESTRUCTURING                        LIQUIDATION
  CLASS                               ALTERNATIVE                       ALTERNATIVE
             SECURED          satisfaction,         settlement,   First Capital Bank’s Class 4
             CLAIM OF FIRST   release, and discharge of such      Claim will be satisfied in full by
             CAPITAL BANK     Class 4 Claim (a) pursuant to       surrender of the Collateral.
                              an agreement between the
                              Reorganized Debtors and the         The amount, validity, extent,
                              Holder of Class 4 Claim or (b)      value, and priority of the
                              if no agreement is reached, at      Allowed Secured Class 4 Claim
                              the Reorganized Debtors’ sole       under § 506 of the Bankruptcy
                              and absolute option, (i) the net    Code will be determined by the
                              proceeds from the liquidation       Bankruptcy Court after the
                              of collateral after payment of      Effective Date. Any Deficiency
                              all fees incurred and expenses      Claim or other Unsecured
                              reimbursed related to the           Claim of the Holder of the
                              liquidation of such collateral,     Class 4 Claim shall be treated in
                              or (ii) surrender of collateral.    Class 11.

                              The amount, validity, extent,
                              value, and priority of the
                              Allowed Secured Class 4 Claim
                              under § 506 of the Bankruptcy
                              Code will be determined by the
                              Bankruptcy Court after the
                              Effective Date or pursuant to
                              an agreement between the
                              Reorganized Debtors and the
                              Holder of the Class 4 Claim.
                              Any Deficiency Claim or other
                              Unsecured Claim of the
                              Holder of the Class 4 Claim
                              shall be treated in Class 11.

     5.      CLAIM OF FIRST   The Class 5 Claim will be           FB&T’s Class 5 Claim will be
             BANK & TRUST     satisfied in full and final         paid by surrender of the
                              satisfaction,        settlement,    Collateral.
                              release, and discharge of such
                              Class 5 Claim (a) pursuant to       The amount, validity, extent,
                              an agreement between the            value, and priority of the
                              Reorganized Debtors and the         Allowed Secured Class 5 Claim
                              Holder of Class 5 Claim or (b)      under § 506 of the Bankruptcy
                              if no agreement is reached, at      Code will be determined by the
                              the Reorganized Debtors’ sole       Bankruptcy Court after the
                              and absolute option, (i) the net    Effective Date. Any Deficiency
                              proceeds from the liquidation       Claim or other Unsecured
                              of collateral after payment of      Claim of the Holder of the

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                 CLAIMANT             TREATMENT:                    TREATMENT:
                                   RESTRUCTURING                    LIQUIDATION
  CLASS                               ALTERNATIVE                  ALTERNATIVE
                              all fees incurred and expenses Class 5 Claim shall be treated in
                              reimbursed related to the Class 11.
                              liquidation of such collateral,
                              or (ii) surrender of collateral.

                              The amount, validity, extent,
                              value, and priority of the
                              Allowed Secured Class 5 Claim
                              under § 506 of the Bankruptcy
                              Code will be determined by the
                              Bankruptcy Court after the
                              Effective Date or pursuant to
                              an agreement between the
                              Reorganized Debtors and the
                              Holder of the Class 5 Claim.
                              Any Deficiency Claim or other
                              Unsecured Claim of the
                              Holder of the Class 5 Claim
                              shall be treated in Class 11.


     6.      SECURED          The Class 6 Claim will be           AIM Bank’s Class 6 Claim will
             CLAIM OF AIM     satisfied in full and final         be paid by surrender of the
             BANK             satisfaction,         settlement,   Collateral.
                              release, and discharge of such
                              Class 6 Claim (a) pursuant to       The amount, validity, extent,
                              an agreement between the            value, and priority of the
                              Reorganized Debtors and the         Allowed Secured Class 6 Claim
                              Holder of Class 6 Claim or (b)      under § 506 of the Bankruptcy
                              if no agreement is reached, at      Code will be determined by the
                              the Reorganized Debtors’ sole       Bankruptcy Court after the
                              and absolute option, (i) the net    Effective Date. Any Deficiency
                              proceeds from the liquidation       Claim or other Unsecured
                              of collateral after payment of      Claim of the Holder of the
                              all fees incurred and expenses      Class 6 Claim shall be treated in
                              reimbursed related to the           Class 11.
                              liquidation of such collateral,
                              or (ii) surrender of collateral.

                              The amount, validity, extent,
                              value, and priority of the
                              Allowed Secured Class 6 Claim
                              under § 506 of the Bankruptcy
                              Code will be determined by the

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                 CLAIMANT            TREATMENT:                         TREATMENT:
                                  RESTRUCTURING                         LIQUIDATION
  CLASS                              ALTERNATIVE                        ALTERNATIVE
                              Bankruptcy Court after the
                              Effective Date or pursuant to
                              an agreement between the
                              Reorganized Debtors and the
                              Holder of the Class 6 Claim.
                              Any Deficiency Claim or other
                              Unsecured Claim of the
                              Holder of the Class 6 Claim
                              shall be treated in Class 11.

     7.      SECURED          The Class 7 Claim will be           Vista Bank’s Class 7 Claim will
             CLAIM OF VISTA   satisfied in full and final         be paid by surrender of the
             BANK             satisfaction,         settlement,   Collateral.
                              release, and discharge of such
                              Class 7 Claim (a) pursuant to       The amount, validity, extent,
                              an agreement between the            value, and priority of the
                              Reorganized Debtors and the         Allowed Secured Class 7 Claim
                              Holder of Class 7 Claim or (b)      under § 506 of the Bankruptcy
                              if no agreement is reached, at      Code will be determined by the
                              the Reorganized Debtors’ sole       Bankruptcy Court after the
                              and absolute option, (i) the net    Effective Date. Any Deficiency
                              proceeds from the liquidation       Claim or other Unsecured
                              of collateral after payment of      Claim of the Holder of the
                              all fees incurred and expenses      Class 7 Claim shall be treated in
                              reimbursed related to the           Class 11.
                              liquidation of such collateral,
                              or (ii) surrender of collateral.

                              The amount, validity, extent,
                              value, and priority of the
                              Allowed Secured Class 7 Claim
                              under § 506 of the Bankruptcy
                              Code will be determined by the
                              Bankruptcy Court after the
                              Effective Date or pursuant to
                              an agreement between the
                              Reorganized Debtors and the
                              Holder of the Class 7 Claim.
                              Any Deficiency Claim or other
                              Unsecured Claim of the
                              Holder of the Class 7 Claim
                              shall be treated in Class 11.



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                 CLAIMANT          TREATMENT:                           TREATMENT:
                                  RESTRUCTURING                         LIQUIDATION
  CLASS                            ALTERNATIVE                          ALTERNATIVE

     8.      OTHER            Holders of Allowed Class 8          Holders of Allowed Class 8
             SECURED          Claims, if any, shall be            Claims, if any, shall be
             CLAIMS           designated as Class 8A, Class       designated as Class 8A, Class
                              8B et seq. and shall be satisfied   8B et seq. and will be paid by
                              at the Reorganized Debtors’         surrender of the Collateral.
                              option by (i) payment of such
                              Allowed Secured Claim in full       The amount, validity, extent,
                              in cash, including interest, if     value, and priority of the
                              applicable, as required under §     Allowed Secured Class 8 Claim
                              506(b) of the Bankruptcy            under § 506 of the Bankruptcy
                              Code; (ii) delivery of the          Code will be determined by the
                              Collateral     securing     such    Bankruptcy Court after the
                              Allowed Secured Claim; or (iii)     Effective Date. Any Deficiency
                              issuance of a restructured note     Claim or other Unsecured
                              with a present value equal to       Claim of the Holder of the
                              the amount of the value of          Class 8 Claim shall be treated in
                              each Holder’s Collateral with       Class 11.
                              interest payable at a rate of 3%
                              annually, and payable in full in
                              ten (10) years.

                              The amount, validity, extent,
                              value, and priority, of any
                              asserted Class 8 Claim under §
                              506 of the Bankruptcy Code
                              will be determined by the
                              Bankruptcy Court after the
                              Effective Date or pursuant to
                              an agreement between the
                              Reorganized Debtors and the
                              Holder of the Class 8 Claim.
                              Any Deficiency Claim or other
                              Unsecured Claim of the
                              Holder of the Class 8 Claim
                              shall be treated in Class 11.


     9.      CLAIMS OF        As full and final satisfaction, N/A      under          Liquidation
             QUALIFIED        settlement,   release,     and Alternative
             RETAIL           discharge of such Class 9
             LENDERS FOR      Claim, each Qualified Retail
             PAYMENT OF       Lender in Class 9 will receive
                              its Pro Rata Share from the

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                  CLAIMANT                        TREATMENT:                              TREATMENT:
                                               RESTRUCTURING                              LIQUIDATION
     CLASS                                       ALTERNATIVE                              ALTERNATIVE
              TT&L/TRADE                   Qualified Retail Lender Pool
              LIABILITY                    for reimbursement for such
                                           Qualified Retail Lenders’
                                           payment of a TT&L/Trade
                                           Liability.



      10.     ASSUMED                      As full and final satisfaction, N/A      under                 Liquidation
              TRADE CLAIMS                 settlement,    release,    and Alternative
                                           discharge of such Class 10
                                           Claim, each member of the
                                           Plan Sponsor, the Debtors,
                                           and the Reorganized Debtors,
                                           each Holder of a Class 10
                                           Claim will receive payment in
                                           full, over time, through the
                                           assumption         of       the
                                           indebtedness underlying the
                                           Allowed Class 10 Claim
                                           payable on terms to be agreed
                                           by each Holder of a Assumed
                                           Trade     Claim     and     the
                                           Reorganized Debtors.


      11.     GENERAL                      As full and final satisfaction,        As full and final satisfaction,
              UNSECURED                    settlement,    release,    and         settlement,     release,    and
              CLAIMS                       discharge of each Class 11             discharge of each Class 11
                                           Claim against the Debtors,             Claim against the Debtors, each
                                           each member of the Plan                Holder of a Class 11 Claim shall
                                           Sponsor, and the Reorganized           be satisfied by Pro Rata Share
                                           Debtors, each Holder of a              (calculated    together    with
                                           Class 11 Claim shall be                Allowed Claims in Classes 12,
                                           satisfied by Pro Rata Share            13, 14 and 15) of Distributions
                                           (calculated together with              from the Liquidation Trust
                                           Allowed Claims in Classes 12           Assets.
                                           and 13) of Distributions from
                                           Creditors Trust Assets.2


 2 Percentage Distribution to Holders of Allowed Class 11 Claims is dependent on a variety of risks and factors, including
 the success of the Reorganized Debtors’ post-confirmation business operations, value of the Creditors Trust Assets, the
 administration costs of the Creditor Trust, and whether the Restructuring or Liquidation Alternative proceeds.


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                   CLAIMANT                        TREATMENT:                                 TREATMENT:
                                                  RESTRUCTURING                               LIQUIDATION
     CLASS                                         ALTERNATIVE                                ALTERNATIVE

      12.      UNSECURED     Ford Credit’s unsecured claim                            Ford Credit’s Unsecured Claim
               CLAIMS     OF will be paid by (i) a $2 million                         is a Disputed Claim. To the
               FORD CREDIT3  cash payment within 180 days                             extent Allowed, Ford Credit’s
                             after the Effective Date and                             Unsecured Claim will be treated
                             (ii) a $5 million unsecured                              in Class 12 and paid as follows:
                             promissory note. The $5                                  In full and final satisfaction and
                             million unsecured promissory                             release of all Ford Credit’s
                             note will have the following                             Unsecured Claims against the
                             terms:           (i)      10-year                        Debtors, Ford Credit will
                             amortization, (ii) 7-year                                receive its Pro Rata Share
                             balloon payment, (iii) 6.5%                              (calculated     together      with
                             interest per annum, (iv)                                 Allowed Claims in Classes 11,
                             payment-in-kind interest for                             13, 14 and 15) of Distributions
                             12 months, and (v) payable                               from the Liquidation Trust
                             thereafter from Excess Cash                              Assets. All Causes of Action
                             Flow. This treatment will                                against Ford Credit are reserved
                             only apply if the Restructuring                          under this Plan.
                             Alternative is implemented.
                             If the Liquidation Alternative
                             is implemented, then Ford
                             Credit’s unsecured claim will
                             be a Disputed Claim, and, to
                             the extent Allowed, Ford
                             Credit’s unsecured claim will
                             be treated in Class 12 and will
                             receive a Pro Rata Share of
                             Creditors      Trust      Assets.
                             Under       the      Liquidation
                             Alternative, all Causes of
                             Action against Ford Credit are
                             preserved under this Plan.
                             Ford     Credit      will     not
                             participate in Class 10 or Class


 3  Classes 12 and 13 Claims are held by Ford Credit and GM Financial, respectively. Each is an affiliate of Original
 Equipment Manufacturers or “franchisors” that are parties to franchise or “dealer” agreements with one or more of the
 Debtors. The Class 12 and 13 Claims asserted by Ford Credit and GM Financial arise, in whole or in part from money
 loaned for the purchase of vehicles from the Original Equipment Manufacturers, and in Ford Credit’s case from allegations of
 out-of-trust sales or double floorplanned inventory as stated in pleadings in this Chapter 11 Case and the Ford Litigation. For
 those reasons, the Claims in Classes 12 and 13 are qualitatively dissimilar to Assumed Trade Claims in Class 10 or General
 Unsecured Claims in Class 11.



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                 CLAIMANT              TREATMENT:                  TREATMENT:
                                      RESTRUCTURING                LIQUIDATION
  CLASS                                ALTERNATIVE                 ALTERNATIVE
                                11.




     13.     UNSECURED    GM Financial’s unsecured           GM       Financial’s      Allowed
             CLAIMS OF GM claim will be paid as follow:      Unsecured Claim will be treated
             FINANCIAL    As a settlement and full and       in Class 13 and paid as follows:
                          final satisfaction and release     In full and final satisfaction and
                          of all unsecured claims, GM        release of all GM Financial’s
                          Financial will receive $1.5 mm     Unsecured Claims against the
                          in cash within 180 days after      Debtors, GM Financial will
                          the Effective Date. Payment        receive its Pro Rata Share
                          of this unsecured claim is         (calculated     together      with
                          subject to and contingent on       Allowed Claims in Classes 11,
                          (i) GM Financial providing         12, 14 and 15) of Distributions
                          floorplan financing to the         from the Liquidation Trust
                          Reorganized Debtors on             Assets. All Causes of Action
                          mutually agreed terms, (ii) the    against GM Financial are
                          assumption of the Debtors’         reserved under the Liquidation
                          franchise agreement with           Alternative in this Plan.
                          General Motors and (iii)
                          implementation        of     the
                          Restructuring       Alternative
                          under the Plan.          If the
                          Liquidation Alternative is
                          implemented, then GM
                          Financial’s unsecured claim
                          will be a Disputed Claim, and,
                          to the extent Allowed, GM
                          Financial’s unsecured claim
                          will be treated in Class 13 and
                          will receive a Pro Rata Share
                          of Creditors Trust Assets.
                          Under       the     Liquidation
                          Alternative, all Causes of
                          Action against GM Financial
                          are preserved under this Plan.
                          GM Financial will not
                          participate in Class 10 or Class
                          11.



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                  CLAIMANT                      TREATMENT:                               TREATMENT:
                                               RESTRUCTURING                             LIQUIDATION
     CLASS                                      ALTERNATIVE                              ALTERNATIVE




      14.     UNSECURED     All prepetition claims of IBC Allowed Claims in Class 14 will
              CLAIMS OF IBC Bank against the Debtors, held receive their Pro Rata Share of
              BANK          directly or indirectly, will be the Liquidation Trust Assets.
                            forgiven, and there will be no
                            Distributions to Claims in
                            Class 14.


      15.     UNSECURED                   There will be no Distributions Allowed Claims in Class 15 will
              CLAIMS OF                   to Claims in Class 15.         receive their Pro Rata Share of
              BART REAGOR                                                the Liquidation Trust Assets.
              AND RICK
              DYKES4


      16.     UNSECURED    There will be no Distributions There will be no Distributions
              SUBORDINATED to Claims in Class 16.         to Claims in Class 16.
              CLAIMS


      17.     INTERESTS IN                All Interests will be cancelled         All Interests will be cancelled
              THE DEBTORS                 and discharged on the                   and discharged on the Effective
                                          Effective Date, and no holder           Date, and no holder of an
                                          of an Interest shall receive a          Interest shall receive a
                                          Distribution on account of              Distribution on account of such
                                          such Interest.                          Interest.




 4The Class 15 Claims are held by Insiders. The estimated amount of the Class 15 Claims is at least $1.8 million. As part
 of a Restructuring under this Plan, the Holders of the Class 15 Claims have agreed to waive and forego all Unsecured
 Claims they hold against the Debtors and will receive no Distribution under this Plan.



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                            ARTICLE III
     HISTORICAL BACKGROUND AND PREPETITION BUSINESS OPERATIONS

         The Debtor entities are comprise of eight (8) limited partnerships and three (3) general
 partners. The limited partnership Debtors are: Reagor-Dykes Motors, LP, Reagor-Dykes Floydada,
 LP, Reagor-Dykes Auto Company, LP, Reagor-Dykes Plainview, LP, Reagor-Dykes Amarillo, LP,
 Reagor-Dykes Imports, LP, Reagor-Dykes Snyder, L.P., and Reagor Auto Mall, Ltd. (the “LP
 Debtors”). The Debtors with general partnership interest in the LP Debtors are: Reagor Auto Mall I
 LLC, Reagor-Dykes II LLC, and Reagor-Dykes III LLC (the “GP Debtors”). Bart Reagor and Rick
 Dykes own fifty percent (50%) respectively in each GP Debtor. The organizational structure of the
 Debtors is as follows:




           Reagor-Dykes                  Reagor Auto Mall I                 Reagor-Dykes
              II LLC                           LLC                            III LLC


                                                              Reagor
                                   Reagor-
     Reagor-Dykes Auto                                         Auto              Reagor-Dykes
                                    Dykes
       Company, LP                                             Mall,             Plainview, LP
                                   Floydada
                                                                LP
                                      LP

                       Reagor-                       Reagor-           Reagor-
                        Dykes                        Dykes             Dykes
                                        Reagor-
                       Amarillo,                     Motors,           Snyder,
                                         Dykes
                         LP                            LP                LP
                                        Imports,
                                          LP

         Section 3.1      GP Debtors.

        The GP Debtors are each Texas limited liability companies. Each GP Debtor owns one
 percent (1%) interest in their respective LP Debtors.

         Section 3.2      LP Debtors.

        The LP Debtors are each Texas limited partnerships. The LP Debtors limited partners are
 Rick Dykes and Bart Reagor. Prepetition, the LP Debtors operated eight (8) Dealerships with
 seventeen (l7) Locations—sixteen in West Texas and one (1) in Dallas—as a consolidated group
 known as the Reagor-Dykes Auto Group. The following are the Dealerships with their corresponding
 Locations:




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                      Debtor                                           Location

  Reagor-Dykes Auto Company, LP                     Reagor-Dykes Plainview Ford Lincoln

  Reagor-Dykes Amarillo, LP                         Reagor-Dykes Mitsubishi Amarillo

                                                    Reagor-Dykes Auto Mall Amarillo

                                                    Reagor-Dykes Luxury

  Reagor-Dykes Floydada, LP                         Reagor-Dykes Chevrolet

  Reagor-Dykes Imports, LP                          Reagor-Dykes Mitsubishi Lubbock

  Reagor-Dykes Motors, LP                           Spike Dykes Ford Lincoln

                                                    Reagor-Dykes Auto Mall Midland West

                                                    Reagor-Dykes Auto Mall Midland East

  Reagor-Dykes Plainview, LP                        Reagor-Dykes Toyota

  Reagor-Dykes Snyder, LP                           Reagor-Dykes Chevy Buick GMC

  Reagor Auto Mall Ltd.                             Reagor Auto Mall Dallas

                                                    Reagor Auto Mall Downtown

                                                    Reagor Auto Mall

                                                    Reagor Auto Mall Imports

                                                    Reagor Auto Mall West

                                                    Reagor Leveland


       FACTORS PRECIPITATING THE FILING OF THESE CHAPTER 11 CASES

 A.      Original Debtors

         The RAM, Snyder and the Original Debtors’ business centers around selling used and new
 vehicles. Historically, RAM, Snyder and the Original Debtors owned or operated Dealerships that sold
 new and/or used vehicles from various original equipment manufacturers including but not limited
 to Ford, General Motors, Gulf States Toyota, Lincoln, and Mitsubishi. Although downsizing during
 the Chapter 11 Cases was unavoidable, prepetition the Debtors’ business employed hundreds of
 people in and around the Lubbock area.



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          The Original Debtors required floor plan financing to maintain inventory to sell. Essentially,
 floor plan financing provided the funds where by the Original Debtors acquired vehicles for resale to
 consumers. The Original Debtors’ primary floor plan financing came from Ford Motor Credit
 Company (“Ford Credit”). Ford Credit extended six loans to the Original Debtors with respective
 line limits on new and used vehicles. As a condition of the floor plan financing, Ford Credit was
 entitled to conduct periodic audits of the Original Debtors’ dealerships to confirm that the dealerships
 were in compliance with the terms of the financing agreements.

         Ford Credit conducted an audit in June of 2018. Consistent with prior audits, the Original
 Debtors received a clean bill of health and Ford Credit even commended the Original Debtors on
 their performance. Despite that positive audit in June, Ford Credit conducted another audit of the
 Original Debtors’ operations on July 26, 2018. Ford Credit claims that the July audit reflected that the
 Original Debtors failed to meet certain standards under their floor financing requirements. Based on
 these allegations, Ford Credit suddenly and immediately stopped funding the Original Debtors’ floor
 plan lines on July 30, 2018.

         The consequences of this abrupt cessation in funding from Ford Credit were catastrophic.
 The Original Debtors did not anticipate the sudden withdrawal of a substantial portion of its floor
 plan lending. Due to the lack of financing from Ford Credit and the resulting freezing of the Original
 Debtors’ bank accounts, the Original Debtors did not have sufficient cashflow to sustain their business
 operations. In an effort to halt the damaging domino effect on consumers and employees and stabilize
 their business, the Original Debtors filed for protection under chapter 11 of the Bankruptcy Code.

 B.      New Debtors

          The New Debtors and the Original Debtors managed the dealerships and locations in a semi-
 integrated manner. Once the Original Debtors were operating as debtors-in-possession under the
 Bankruptcy Code, it became increasingly challenging for the New Debtors to operate their business
 unimpacted by the filing. Due to the public nature of the Original Debtors’ bankruptcy cases, the New
 Debtors’ floor plan lenders also became skeptical of the New Debtors’ ability to continue operations.
 Negotiations ensued with First Bank & Trust (“FBT”), the floor plan lender for RAM, and
 AmeriCredit Financial Services, Inc. d/b/a GM Financial (“GM Financial”), the floor plan lender
 for Snyder. Ultimately, FB&T applied for a writ of sequestration whereby FB&T could foreclose on
 its collateral – that collateral being the vehicles FB&T had “floored” pursuant to a floor plan financing
 agreement it had with RAM. The United States District Court for the Northern District of Texas,
 Lubbock Division, entered an agreed order allowing FB&T to sequester the vehicles after a fourteen-
 day stay lapsed. The stay was set to expire on October 29, 2018. Because RAM could not operate
 without the collateral vehicles as inventory, and because discussions with GM Financial remained
 contentious, the New Debtors filed for relief under Chapter 11 of the Bankruptcy Code.

                              ARTICLE IV
          MEANS FOR IMPLEMENTATION OF THE PLAN: RESTRUCTURING
                             ALTERNATIVE

         On the Effective Date, the Reorganized Debtors will receive up to $12 million in cash from
 the Plan Sponsor to be used as working capital and to pay Allowed Claims pursuant to the Plan. In
 exchange for this Cash, the Reorganized Debtors will cancel all Interests in the Debtors, and issue


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 90% of the New Equity in the Reorganized Debtors to the Plan Sponsor. The Reorganized Debtors
 will issue the other 10% of the New Equity to the Creditors’ Trust.

       THE DEBTORS, WITH THE SUPPORT AND INPUT OF THE PLAN SPONSOR,
 HAVE PREPARED THREE (3) YEAR PROJECTIONS OF THE INCOME AND
 OPERATIONAL EXPENSES OF THE REORGANIZED DEBTORS, INCLUSIVE OF ALL
 PAYMENTS DUE TO ALLOWED ADMINISTRATIVE CLAIMS, PRIORITY TAX CLAIMS,
 AND PRIORITY NON-TAX CLAIMS PURSUANT TO THE PLAN. THE DEBTORS AND
 THE PLAN SPONSOR BELIEVE THAT THESE PROJECTIONS ARE CONSERVATIVE,
 REASONABLE AND ACHIEVABLE. THE PROJECTIONS AND THE PLAN DO NOT
 REQUIRE THE CONTINUED PARTICIPATION OF FORD CREDIT, FB&T OR GM
 FINANCIAL AS A FLOOR PLAN LENDER. IF FORD CREDIT, FB&T AND/OR GM
 FINANCIAL DO NOT WISH TO PROVIDE FLOOR PLAN FINANCING TO THE
 REORGANIZED DEBTORS, THEN THE REORGANIZED DEBTORS WILL PROCURE AN
 EXIT LENDER. THE DEBTORS ARE CONFIDENT AND OPTIMISTIC THAT THE
 BUSINESS CONTACTS AND RELATIONSHIPS THE PLAN SPONSOR MAINTAINS IN
 THE INDUSTRY WILL YIELD A LENDER TO PROVIDE FLOOR PLAN FINANCING
 SUFFICIENT FOR THE REORGANIZED DEBTORS TO CONTINUE OPERATIONS. THE
 PROJECTIONS ARE ATTACHED AS EXHIBIT A.

                           ARTICLE V
  MEANS FOR IMPLEMENTATION OF THE PLAN: LIQUIDATION ALTERNATIVE

         Under the Liquidation Alternative, the Plan will effectuate an orderly wind down of the
 Debtors’ business operations, a controlled liquidation of all Collateral, appointment of the Liquidation
 Trustee, and the transfer of all Causes of Action to the Liquidation Trust. All Assets and all Causes
 of Action, inclusive of all rights to challenge the extent, priority and validity of alleged liens, and all
 Collateral not surrendered under the terms of the Plan will be transferred to the Liquidation Trust.
 All Holders of Allowed Unsecured Claims will receive a beneficial interest in the Liquidation Trust
 equal to the Pro Rata amount of their Allowed Unsecured Claim, and the Liquidation Trustee will
 make distributions to all Allowed Unsecured Claims pursuant to the terms and conditions of the Plan
 and a Liquidation Trust Agreement.

                                       ARTICLE VI
                      ASSETS OF THE DEBTORS ON THE PETITION DATE

        The following is a summary description of each of the Debtors’ known principal assets. The
 information has been compiled from the Debtors’ audited and unaudited records as reflected in the
 Debtors’ Schedules, Statements of Financial Affairs and Monthly Operating Reports. Given the
 concerns

         Section 6.1      Debtors’ Assets.

              Reagor-Dykes Motors, LP

                     a)   Personal Property: As of the Petition Date, Reagor-Dykes
                          Motors, LP had personal property in the amount of


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                          $32,076,136.31 based on: (i) accounts receivable amounting to
                          $4,078,162.00; (ii) cash and cash equivalents amounting to
                          $3,078,898.64; (iii) deposits and prepayments amounting to
                          $1,300; (iv) inventory amounting to $21,896,597.00; (v) office
                          furniture, fixtures, and equipment amounting to $98,330.25;
                          (vi) machinery, equipment, and vehicles amounting to
                          $53,294.67.

                     b)   Real Property: As of the Petition Date, Reagor-Dykes
                          Motors, LP had real property in the amount of $609,871.17.

                     c)   Intellectual Property: As of the Petition Date, Reagor-Dykes
                          Motors, LP had intellectual property amounting to $23,923.75.

                     d)   Other Property: As of the Petition Date, Reagor-Dykes
                          Motors, LP had other property (including notes receivable
                          from Bart Reagor and Rick Dykes) amounting to
                          $2,845,630.00.

              Reagor-Dykes Auto Company, LP

                     a)   Personal Property: As of the Petition Date, Reagor-Dykes
                          Auto Company, LP had personal property in the amount of
                          $19,296,940.86 based on: (i) accounts receivable amounting to
                          $2,178,854.00; (ii) cash and cash equivalents amounting to
                          $1,686,931.89; (iii) deposits and prepayments amounting to
                          $740.00; (iv) inventory amounting to $12,686,580.00; (v) office
                          furniture, fixtures, and equipment amounting to $428,214.92;
                          (vi) machinery, equipment, and vehicles amounting to
                          $167,949.05.

                     b)   Real Property: As of the Petition Date, Reagor-Dykes Auto
                          Company, LP had real property in the amount of $930,352.34.

                     c)   Intellectual Property: As of the Petition Date, Reagor-Dykes
                          Auto Company, LP had intellectual property amounting to
                          $16,723.00.

                     d)   Other Property: As of the Petition Date, Reagor-Dykes Auto
                          Company, LP had other property (including notes receivable
                          from Bart Reagor and Rick Dykes) amounting to
                          $1,948,948.00.

              Reagor-Dykes Amarillo, LP

                     a)   Personal Property: As of the Petition Date, Reagor-Dykes
                          Amarillo, LP had personal property in the amount of
                          $8,270,334.33 based on: (i) accounts receivable amounting to

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                          $989,443.00; (ii) cash and cash equivalents amounting to
                          $670,650.00; (iii) deposits and prepayments amounting to
                          $850; (iv) inventory amounting to $5,983,952.00; (v) office
                          furniture, fixtures, and equipment amounting to $81,310.83;
                          (vi) machinery, equipment, and vehicles amounting to
                          $94,128.50.

                     b)   Real Property: As of the Petition Date, Reagor-Dykes
                          Amarillo, LP had real property in the amount of $332,190.25.

                     c)   Intellectual Property: None.

                     d)   Other Property: As of the Petition Date, Reagor-Dykes
                          Amarillo, LP had other property (including notes receivable
                          from Bart Reagor and Rick Dykes) amounting to $450,000.

              Reagor-Dykes Floydada, LP

                     a)   Personal Property: As of the Petition Date, Reagor-Dykes
                          Floydada, LP had personal property in the amount of
                          $12,379,837.00 based on: (i) accounts receivable amounting to
                          $1,026,592.00; (ii) cash and cash equivalents amounting to
                          $326,208.00; (iii) deposits and prepayments amounting to
                          $1,683.00; (iv) inventory amounting to $9,745,042.00; (v) office
                          furniture, fixtures, and equipment amounting to $31,287.00;
                          (vi) machinery, equipment, and vehicles amounting to
                          $177,150.00.

                     b)   Real Property: As of the Petition Date, Reagor-Dykes
                          Floydada, LP had real property in the amount of $285,352.00.

                     c)   Intellectual Property: As of the Petition Date, Reagor-Dykes
                          Floydada, LP had intellectual property amounting to
                          $66,223.00.

                     d)   Other Property: As of the Petition Date, Reagor-Dykes
                          Floydada, LP had other property (including notes receivable
                          from Bart Reagor and Rick Dykes) amounting to $297,500.

              Reagor-Dykes Imports, LP

                     a)   Personal Property: As of the Petition Date, Reagor-Dykes
                          Imports, LP had personal property in the amount of
                          $12,194,433.91 based on: (i) accounts receivable amounting to
                          $1,694,378.00; (ii) cash and cash equivalents amounting to
                          $1,435,812.16; (iii) inventory amounting to $7,659,216.00; (v)
                          machinery, equipment, and vehicles amounting to $107,643.75.


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                     b)   Real Property: As of the Petition Date, Reagor-Dykes
                          Imports, LP had real property in the amount of $232,190.08.

                     c)   Intellectual Property: As of the Petition Date, Reagor-Dykes
                          Imports, LP had intellectual property amounting to
                          $28,250.00.

                     d)   Other Property: As of the Petition Date, Reagor-Dykes
                          Imports, LP had other property (including notes receivable
                          from Bart Reagor and Rick Dykes) amounting to
                          $1,269,134.00.

              Reagor-Dykes Plainview, LP

                     a)   Personal Property: As of the Petition Date, Reagor-Dykes
                          Plainview, LP had personal property in the amount of
                          $14,168,106.35 based on: (i) accounts receivable amounting to
                          $1,414,088.00; (ii) cash and cash equivalents amounting to
                          $2,196,118.68; (iii) inventory amounting to $10,296,320.00; (v)
                          office furniture, fixtures, and equipment amounting to
                          $38,623.67; (vi) machinery, equipment, and vehicles amounting
                          to $63,622.00.

                     b)   Real Property: As of the Petition Date, Reagor-Dykes
                          Plainview, LP had real property in the amount of $174,897.08.

                     c)   Intellectual Property: As of the Petition Date, Reagor-Dykes
                          Plainview, LP did not have any intellectual property.

                     d)   Other Property: As of the Petition Date, Reagor-Dykes
                          Plainview LP had other property (including notes receivable
                          from Bart Reagor and Rick Dykes) amounting to $159,334.00.

              Reagor-Dykes Snyder, LP

                     a)   Personal Property: As of the Petition Date, Reagor-Dykes
                          Snyder, LP had personal property in the amount of
                          $15,674,302.00 based on: (i) accounts receivable amounting to
                          $2,065,745.00; (ii) cash and cash equivalents amounting to
                          $8,918.00; (iii) deposits and prepayments amounting to
                          $465.00; (iv) inventory amounting to $13,319,142.00; (v) office
                          furniture, fixtures, and equipment amounting to $77,048.00;
                          (vi) machinery, equipment, and vehicles amounting to
                          $202,984.00.

                     b)   Real Property: As of the Petition Date, Reagor-Dykes Snyder,
                          LP did not have any real property.


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                     c)   Intellectual Property: As of the Petition Date, Reagor-Dykes
                          Snyder, LP did not have any intellectual property.

                     d)   Other Property: As of the Petition Date, Reagor-Dykes
                          Snyder, LP did not have any other property.

              Reagor Auto Mall, Ltd.

                     a)   Personal Property: As of the Petition Date, Reagor Auto
                          Mall, Ltd. had personal property in the amount of
                          $12,582,918.21 based on: (i) accounts receivables amounting to
                          $1,915,270.55; (ii) cash and cash equivalents amounting to
                          $1,047,402.91; (iii) deposits and prepayments amounting to
                          $5,786.19; and (iv) inventory amounting to $7,119,136.56.

                     b)   Real Property: As of the Petition Date, Reagor Auto Mall,
                          Ltd. did not have any real property.

                     c)   Intellectual Property: As of the Petition Date, Reagor Auto
                          Mall, Ltd. did not have any intellectual property.

                     d)   Other Property: As of the Petition Date, Reagor Auto Mall,
                          Ltd. had other property (including notes receivable from Bart
                          Reagor and Rick Dykes) amounting to $2,495,322.00.

              Reagor-Dykes II LLC

             As noted elsewhere in this Disclosure Statement, Reagor-Dykes II LLC is the general
         partner of Debtor Reagor-Dykes Auto Company, LP. Reagor-Dykes II LLC owns a 1%
         interest in Debtor Reagor-Dykes Auto Company, LP’s outstanding equity partnership units.
         Other than the above, the Schedules reflect the following as to Reagor-Dykes II LLC:

                     a)   Personal Property: As of the Petition Date, Reagor-Dykes II
                          LLC did not have any personal property.

                     b)   Real Property: As of the Petition Date, Reagor-Dykes II LLC
                          did not have any real property.

                     c)   Intellectual Property: As of the Petition Date, Reagor-Dykes
                          II LLC did not have any intellectual property.

                     d)   Other Property: As of the Petition Date, Reagor-Dykes II
                          LLC did not have any other property.

              Reagor-Dykes III LLC

             As noted elsewhere in this Disclosure Statement, Reagor-Dykes III LLC is the general
         partner of Debtor Reagor-Dykes Plainview, LP. Reagor-Dykes III LLC owns a 1% interest


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         in Debtor Reagor-Dykes Plainview, LP’s outstanding equity partnership units. Other than the
         above, the Schedules reflect the following as to Reagor-Dykes III LLC:

                     a)       Personal Property: As of the Petition Date, Reagor-Dykes III
                              LLC did not have any personal property.

                     b)       Real Property: As of the Petition Date, Reagor-Dykes III
                              LLC did not have any real property.

                     c)       Intellectual Property: As of the Petition Date, Reagor-Dykes
                              III LLC did not have any intellectual property.

                     d)       Other Property: As of the Petition Date, Reagor-Dykes III
                              LLC did not have any other property.

              Reagor Auto Mall I LLC

             As noted elsewhere in this Disclosure Statement, Reagor Auto Mall I LLC is the general
         partner of Debtors Reagor-Dykes Motors, LP, Reagor-Dykes Amarillo, LP, Reagor-Dykes
         Floydada, LP, Reagor-Dykes Imports, LP, Reagor Auto Mall, Ltd. and Reagor-Dykes Snyder,
         LP. Reagor Dykes II LLC owns a 1% interest in each of these listed debtor’s outstanding
         equity partnership units. Other than the above, the Schedules reflect the following as to
         Reagor Auto Mall I LLC:

                     a)       Personal Property: As of the Petition Date, Reagor Auto Mall
                              I LLC did not have any personal property.

                     b)       Real Property: As of the Petition Date, Reagor Auto Mall I
                              LLC did not have any real property.

                     c)       Intellectual Property: As of the Petition Date, Reagor Auto
                              Mall I LLC did not have any intellectual property.

                     d)       Other Property: As of the Petition Date, Reagor Auto Mall I
                              LLC did not have any other property.

         Section 6.2          Claims and Causes of Action of Debtors.

                     a)       The Debtors held the following claims and causes of action that were pending
                              as of the Petition Date:

                          Style of Case                                      Status
  Reagor Auto Mall, Ltd. v. Heather Morris               Pending
  Reagor Auto Mall v. Monica Rosendo                     Pending




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                          Style of Case                                            Status
  Reagor Dykes Imports, LP, Reagor-Dykes Auto Ongoing adversary in bankruptcy case no. 18-
  Company, LP, Reagor-Dykes Plainview, LP v. Vista 50214
  Bank

                     b)       As detailed in the Plan and except as otherwise compromised
                              and settled pursuant to the Plan, pursuant to § 1123(b) of the
                              Bankruptcy Code, all Causes of Action are preserved under the
                              Plan and the Reorganized Debtors or the Liquidation Trustee,
                              as the case may be, shall, on behalf of the Debtors, retain the
                              exclusive authority and all rights to enforce, commence, and
                              pursue, as appropriate, any and all Causes of Action, including,
                              without limitation, (i) any potential Cause of Action arising
                              from or related to any transfer or other actions or omissions
                              referenced in each of the Debtors’ Schedules or Statement of
                              Financial Affairs, as same may be amended (ii) any potential
                              Causes of Action against any past or present insider of the
                              Debtors, (iii) any causes of action related to the extent, validity,
                              and priority of any liens, (iv) any actions for breach of contract,
                              (v) any actions arising in tort, and (vi) any action listed on
                              attached Exhibit E. Without limiting the generality of the
                              foregoing, the Debtors retain and preserve any and all Causes
                              of Action, except as otherwise compromised and settled
                              pursuant to the Plan, against some or all of the Debtors’
                              prepetition lenders, including but not limited to Ford Credit,
                              GM Financial, First Capital Bank, FB&T, IBC Bank, and Vista
                              Bank (collectively, the “Lenders”) and against the Debtors’
                              prepetition independent auditor Lane Gorman Trubitt, LLC
                              (“Auditor”):

                              (i)     Claims Against Lenders: The Estates’ claims against
                                      the Lenders include, but are not limited to: (1) claims
                                      for wrongful setoff or seizure of estate funds and
                                      damages for the expense of preserving bank collateral
                                      during the chapter 11 case, namely (i) section 506
                                      surcharge claims against, among others, GM Financial,
                                      Ford Credit, FirstCapital, and First Bank, which
                                      provided floor-plan financing to several Debtors that
                                      the Debtors secured by inventory collateral without
                                      compensation, (ii) a security claim against IBC Bank,
                                      which provided real-estate financing to Reagor-Dykes
                                      through a Reagor-Dykes affiliate that leased real estate
                                      to the Reagor-Dykes dealerships (and the Estates
                                      preserved this real estate collateral during the
                                      Bankruptcy Cases), (iii) section 553 avoidance claims
                                      for millions of dollars of the Estates’ cash deposits that

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                            were “trapped” at one or more of the Lenders who
                            have not provided an accounting of the cash deposits,
                            (iv) section 553 avoidance claims against the banks that
                            froze money paid into the Debtors’ accounts by retail
                            lenders who financed cars sold by the Debtors and
                            then setoff against debts owed by the Debtors to the
                            Lenders, and (v) section 548 fraudulent transfer claims
                            against the Lenders that held certificates of deposit as
                            collateral even though not all of the Debtors owed
                            money to those Lenders; and (2) damages claims,
                            including but not limited to those against (i) First
                            Capital Bank, FB&T, and Vista Bank, who knew or
                            should have known that the Debtors’ former chief
                            financial officer was using accounts at FB&T in an
                            illegal check-kiting scheme but still charged the
                            Debtors exorbitant bank charges related to the scheme
                            and helped hide the practices of the former CFO that
                            drove the company into bankruptcy, and (ii) First
                            Capital Bank, who failed to fulfill a $2.1 million
                            extension of floor-plan financing to RAM during the
                            bankruptcy cases of the Original Debtors despite
                            receiving more than $7.5 million in additional security
                            from the Reagor-Dykes owners.

                     (ii)   Claims Against Ford Credit: The Estates’ additional
                            claims against Ford Credit include, without limitation,
                            (a) lender-liability claims regarding whether Ford
                            Credit (which provided floor-plan financing to Reagor-
                            Dykes and rated its two previous audits of Reagor-
                            Dykes as exemplary) knew, or should have known, on
                            or before July 30, 2018, about the selling-out-of-trust
                            sales or double-pledged inventory for which the
                            Debtors’ former CFO has now taken responsibility,
                            and whether Ford Credit had a special duty to notify
                            the Debtor’s owners of its CFO’s misconduct and
                            given the owners a reasonable opportunity to correct
                            the problems before withdrawing its financing and
                            filing its lawsuit on July 31, 2018; (b) tort claims
                            regarding whether Ford Credit tortiously interfered
                            with RAM’s floor-plan loan agreement with First
                            Capital Bank when Ford Credit’s lawyers notified First
                            Capital Bank that Ford Credit was asserting a priming
                            lien on certain RAM inventory that took priority over
                            First Capital Bank’s lien securing floor-plan financing
                            which interference deterred First Capital Bank from
                            fulfilling $2.1 million in floor-plan financing to RAM,
                            for which RAM had pledged $7.5 million in collateral

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                                  to FirstCapital; (c) the section 506 surcharge claims
                                  described above; and (4) any section 547 or 548
                                  avoidance actions against Ford Credit, because Ford
                                  Credit may have received payments from non-
                                  collateral and received payments while an unsecured
                                  creditor and outside of the ordinary course of business.

                          (iii)   Claims Against Auditor: The Estates’ claims against
                                  the auditor include, without limitation, all Causes of
                                  Action arising from or related to Auditor’s written
                                  reports and opinions regarding the financial position of
                                  the Debtors in 2015 and 2016, whether sounding in
                                  contract or tort, and specifically including negligence,
                                  gross negligence and/or negligent misrepresentation in
                                  performing its audit work, breach of warranty; claims
                                  under the Texas Deceptive Trade Practices Act;
                                  and/or breach of the duty to exercise reasonable care
                                  in rendering professional services as an independent
                                  auditor via the failure to detect accounting irregularities
                                  and/or in excess of $5.9 million in fraudulent
                                  accounting entries, the failure to comply with generally
                                  accepted auditing standards, failure to obtain
                                  reasonable assurance regarding whether the Debtors’
                                  2015 balance sheets and 2016 financial statements were
                                  free from material misstatements, and the failure to
                                  detect and disclose a $25 million material debt
                                  repayment prior to the issuance of the 2016 audit
                                  report.

                     c)   The failure to list or describe any Cause of Action herein is not
                          intended to limit the rights of the Reorganized Debtors to
                          pursue any known or unknown Cause of Action. Unless
                          Causes of Action against a Person or Entity are expressly
                          waived, relinquished, released, compromised or settled herein
                          or any Final Order, the Debtors or the Estates (before the
                          Effective Date) and the Debtors and the Reorganized Debtors
                          (as applicable), expressly reserve all Causes of Action
                          (including the unknown Causes of Action) for later
                          adjudication and therefore, no preclusion doctrine or other
                          rule of law, including, without limitation, the doctrines of res
                          judicata, collateral estoppel, issue preclusion, claim preclusion,
                          estoppel (judicial, equitable or otherwise) or laches, shall apply
                          to such Causes of Action upon, after, or as a result of the
                          confirmation or Effective Date of the Plan, or the
                          Confirmation Order. In addition, the Debtors and the Estates,
                          and the Reorganized Debtors, expressly reserve the right to
                          pursue or adopt any Claims not so waived, relinquished,

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                          released, compromised, or settled that are alleged in any lawsuit
                          in which one of the Debtors or Estates is a defendant or an
                          interested party, against any Person or Entity, including,
                          without limitation, the plaintiffs and co-defendants in such
                          lawsuits. No Entity may rely on the absence of a specific
                          reference in the Plan, the Plan Supplement Documents, or the
                          Disclosure Statement to any Cause of Action against them as
                          any indication that the Trustee, on behalf of the Debtors or the
                          Reorganized Debtors will not pursue any and all available
                          Causes of Action against them. The Debtors and the
                          Reorganized Debtors expressly reserve all rights to prosecute
                          any and all Causes of Action other than Causes of Action
                          settled, resolved or released pursuant to this Plan.

                     d)   For the avoidance of doubt, the Reorganized Debtors reserve
                          and shall retain all Causes of Action notwithstanding the
                          rejection or repudiation of any Executory Contract or
                          Unexpired Lease and will continue to review payments made
                          by and transactions involving the Debtors prior to the Petition
                          Date to determine whether preference and other actions to
                          avoid such payments and transactions should be brought. The
                          Reorganized Debtors shall have the exclusive right, authority,
                          and discretion to determine and to initiate, File, prosecute,
                          enforce, abandon, settle, compromise, release, withdraw, or
                          litigate to judgment any such Causes of Action and to decline
                          to do any of the foregoing without the consent or approval of
                          any third party or further notice to or action, order, or approval
                          of the Bankruptcy Court. The Reorganized Debtors shall have
                          the right to identify any additional Causes of Action prior to
                          the Effective Date of the Plan.

 IN REVIEWING THIS DISCLOSURE STATEMENT AND THE PLAN, AND IN
 DETERMINING WHETHER TO VOTE IN FAVOR OF OR AGAINST THE PLAN,
 HOLDERS OF CLAIMS AND INTERESTS (INCLUDING PARTIES THAT RECEIVED
 PAYMENTS FROM THE DEBTORS WITHIN NINETY (90) DAYS PRIOR TO THE
 PETITION DATE) SHOULD CONSIDER THAT A CAUSE OF ACTION MAY EXIST
 AGAINST THEM, THAT THE PLAN PRESERVES ALL CAUSES OF ACTION, AND
 THAT THE PLAN AUTHORIZES THE REORGANIZED DEBTORS TO PROSECUTE
 THE SAME.

 All rights, if any, of a defendant to assert a claim arising from relief granted in any Cause of Action,
 together with the Reorganized Debtors’ right to oppose such claim are fully preserved.




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                                         ARTICLE VII
                                 LIABILITIES OF THE DEBTORS

        Section 7.1      Administrative Claims: All Debtors. Administrative Claims are any claims
 defined in §503(b) of the Code as “administrative expenses” and granted priority under § 507(a)(1) of
 the Code, including:

                     a)   Claim for any cost or expense of administration in connection
                          with the Case, including, without limitation, any actual,
                          necessary cost or expense of preserving the Debtor’s estate and
                          of operating the business of the Debtors incurred on or before
                          the Effective Date;

                     b)   the full amount of all Claims for compensation for legal,
                          accounting and other services or reimbursement of costs under
                          §§330, 331 or 503 of the Bankruptcy Code;

                     c)   all fees and charges assessed against the Debtors’ estates under
                          Chapter 123 of Title 28 of the United States Code; and

                     d)   a Claim for post-petition taxes and related items, including any
                          interest and penalties on such post-petition taxes.

 The following are the asserted outstanding Administrative Claims owed by the Debtors:

                     a)   Professionals. Under the Plan, all professionals employed
                          pursuant to §§ 327 and 330 shall be required to file with the
                          Bankruptcy Court a final fee application within sixty (60) days
                          after the Effective Date. Nothing in the Plan or this Disclosure
                          Statement is intended to restrict the ability of any party in
                          interest or the U.S. Trustee to object to any final fee
                          applications.

                     b)   SAWCO Industries, LLC Administrative Claim. SAWCO
                          Industries, LLC filed a request for administrative claim in the
                          amount of $31,500.00 for post-petition goods, accessories, and
                          equipment described in its application for compensation.

                     c)   Earl Owen Co. Administrative Claim. Earl Owen Co. filed
                          an application for allowance and payment of administrative
                          expense claim in the amount of $92,312.97 for automotive
                          goods and accessories delivered to the Debtors 20 days prior
                          to the petition date.

                     d)   Covenant Health System. Covenant Health System filed its
                          application for administrative expenses amounting to
                          $147,407.86, but after negotiation with the Debtors have
                          agreed to the reduced amount of $82,247.77.

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                     e)   Reagan National Advertising of Austin. Reagan National
                          Advertising of Austin filed its application for administrative
                          expenses amounting to $9,716.43.

                     f)   Other Asserted Administrative Claims. A review of the
                          docket on June 28, 2019, reveals that no other requests for
                          administrative expense payments have been filed in this case.

         Section 7.2      Scheduled and Known Secured and Priority Claims, Pending Litigation.

         The scheduled and filed Claim amounts listed below do not include the accrual of interest
 after the filing of the Cases, to the extent such post-petition interest may be applicable.

                     a)   Secured Claims: As of the filing of this Disclosure Statement, the following
                          are asserted Secured Claims, listed below by the respective Debtor:

               Debtor                       Secured Lender                       Amount

  Reagor-Dykes Auto                  AIM Bank                         $357,915.06
  Company, LP

                                     First Capital Bank               $2,442,093.00

                                     Ford Motor Credit                $16,223,320.17
                                     Corporation

                                     Vista Bank                       $792,500.00

                                     Vista Bank                       $367,500.00

  Reagor-Dykes Motors, LP            Ford Motor Credit                $31,983,007.90
                                     Corporation


                                     Ford Motor Credit                $3,916,674.00
                                     Corporation

  Reagor-Dykes Plainview, LP         AIM Bank                         $457,166.57

                                     First Capital Bank               $2,442,093.00

                                     Ford Motor Credit                $15,964,252.12
                                     Corporation

                                     Vista Bank                       $848,443.89

                                     Vista Bank                       $596,880.00



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  Reagor-Dykes Amarillo, LP           Ford Motor Credit                 $9,287,555.82
                                      Corporation

                                      First Capital Bank                $2,442,093.00

  Reagor-Dykes Floydada, LP           Ford Motor Credit                 $18,821,873.00
                                      Corporation

                                      First Capital Bank                $2,580,498.00

  Reagor-Dykes Imports, LP            First Capital Bank                $2,442,093.00

                                      Ford Motor Credit                 $12,894,777.94
                                      Corporation

                                      Vista Bank                        $359,056.11

                                      Vista Bank                        $992,847.52

  Reagor Auto Mall, Ltd.              First Bank & Trust                $3,257,100.00

                                      First Capital Bank                $9,575,238.80

                                      First Capital Bank                $308,850.00

                                      Liberty Capital Bank              $431,150.00

  Reagor-Dykes Snyder, LP             GM Financial Commercial           $14,662,298.00
                                      Lending Service


                     b)    Priority Claims: As of the Petition Date, the following are the priority claims
                           collectively asserted against each of the LP Debtors:


                          Debtor                              Collective Asserted Priority Claim


  Reagor-Dykes Auto Company, LP                        $171,185.00


  Reagor-Dykes Motors, LP                              $212,107.00


  Reagor-Dykes Plainview, LP                           $91,027.00


  Reagor-Dykes Amarillo, LP                            $76,175.00


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  Reagor-Dykes Floydada, LP                               $75,526.00


  Reagor-Dykes Imports, LP                                $146,189.00


  Reagor Auto Mall, Ltd.                                  $442,382.55


  Reagor-Dykes Snyder, LP                                 $29,839.00

                     c)       Pending Litigation: The Debtors list the following litigation filed against one
                              or more of the Debtors that was pending as of the Petition Date:

                          Style of Case                                        Status
  Zigler Motors, Inc. v. Reagor Auto Mall, Ltd. & Administratively closed; Suggestion of
  Reagor Auto Mall I, LLC                         bankruptcy filed.
  James Wood Autopark v. Reagor Auto Mall, Ltd.           Pending; Suggestion of bankruptcy filed.
  Citizens State Bank v. Texas Department of Motor Pending; Suggestion of bankruptcy filed.
  Vehicles and Reagor-Dykes Snyder, L.P.
  First Bank and Trust v. Reagor Auto Mall, Ltd., et. Pending; Suggestion of bankruptcy filed.
  al.
  Nyle Maxwell of Taylor, LLC v. Reagor Auto Mall, Pending; Suggestion of bankruptcy filed.
  Ltd. et. al.
  World Motors, LLC v. Reagor-Dykes Dallas, LP, Pending; Suggestion of bankruptcy filed.
  Reagor Auto Mall, Ltd., et. al.
  MUSA Auto Leasing and Edward Lee Mitchell v. Pending
  Family Dealership Group, LLC and Reagor Auto
  Mall
  ND Auto Sales, LLC v. Reagor Auto Mall, Ltd.            Pending
  Vandergriff v. Reagor Auto Mall, Ltd., et. al.          Pending

         Section 7.3          Unsecured Claims.

                 The Schedules of each individual Debtor reflect Unsecured Claims asserted in the
         following amounts: Reagor-Dykes Motors, LP in the amount of $2,171,246.74, Reagor-Dykes
         Auto Company, LP in the amount of $1,798,097.23, Reagor-Dykes Plainview, LP in the
         amount of $1,194,015.63, Reagor-Dykes Floydada, LP in the amount of $628,889.03, Reagor-
         Dykes Imports, LP in the amount of $2,138,876.83, Reagor-Dykes Amarillo, LP in the amount
         of $1,458,492.84, Reagor-Dykes Snyder, L.P. in the amount of $2,926,075.80, Reagor Auto
         Mall, Ltd. in the amount of $13,858,386.07. The bar date for filing additional proofs of claim


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         against the Original Debtors was December 5, 2018; however, the bar date for the New
         Debtors has not yet passed.

                            ARTICLE VIII
      SUMMARY OF KEY MATTERS ARISING DURING THE CHAPTER 11 CASES

         Section 8.1     Commencement of the Debtors’ Cases. Each Chapter 11 Case was
 commenced by the filing of a voluntary petition under chapter 11 on the dates identified as each
 Petition Date. Shortly after these cases were commenced, the Debtors filed several motions incident
 to the management of the Bankruptcy Cases that were granted by the Court, including the authority
 to retain certain professionals and the joint administration of the Debtors’ cases under one case
 number.

        Section 8.2 Employment of the Chief Restructuring Officer. The Debtors employed
 BlackBriar LLC to assist with restoring confidence in consumers, employees, and the community.
 BlackBriar assist the Debtor with stabilizing operations and acted as an objective intermediary that has
 pursued a path in the best interest of all parties in interest.

         Section 8.3 Auction of Assets Held by Original Debtors. On September 10, 2018, the
 Original Debtors filed a Motion for Entry of an Order (I) Authorizing and Approving: (A) Bid
 Procedures; (B) Stalking Horse Bidder and Overbid Protections; and (C) Form and Manner of Notices
 [Doc. No. 222]. The Original Debtors were successful in procuring a stalking horse bidder and held
 an auction on the sale of the Original Debtors’ Assets. However, during the sale process, the New
 Debtors filed for bankruptcy protection. Around the time of the auction, the Debtors were apprised
 of certain potential investors seeking to reorganize the Debtors as opposed to a sale. After further
 negotiations and discussion, the Debtors believed that it was in the best interest of the stakeholders
 and the Estates to pursue a plan of reorganization as opposed to a sale of assets. On November 28,
 2018, the Debtors asked that the Court table the sale indefinitely so that the Debtors can pursue the
 plan of reorganization. The Court granted the Debtors’ request.

          Section 8.4 Consumer Protection Efforts. Motion for Order Authorizing and Directing
 Retail Lenders to Pay Outstanding Tax, Title, and License Fees and Trade-Lien Payoffs.
 Understanding that innocent consumers were facing difficult circumstances, on October 9, 2018, the
 Debtors filed a Motion for Order Authorizing and Directing Retail Lenders to Pay Outstanding Tax, Title, and
 License Fees and Trade-Lien Payoffs (“TT&L Motion”) [Doc. No. 349]. The TT&L Motion required
 subsequent retail lenders to pay off any outstanding tax, title, and license fees or trade-lien payments
 so that impacted consumers could then receive their titles and/or registration stickers on their car.
 The Debtors have engaged in extensive discussion with prior retail lenders, current retail lenders, and
 consumers in an attempt to reach agreements that resolve the consumer’s tax, title, license fees or
 trade-lien payoffs. The Debtors have reach multiple agreements with retail lenders and are continuing
 to engage retail lenders in negotiations and, to date, the Debtors have successfully addressed issues
 incident to vehicle titles, trade in liens and TT&L for approximately 480 consumers. With that
 continued cooperation among the retail lenders, the Debtors withdrew the TT&L Motion without




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 prejudice. Under the Restructuring Alternative in the Plan, retail lenders may choose to become
 Qualified Retail Lenders and take advantage of the TT&L reimbursement provisions.

         Section 8.5 Global Negotiations. The Debtors have been proactive in actively
 negotiating with floor plan lenders, dealers, retail lenders and other parties in interest on myriad
 complex issues and have had success resolving most substantive motions for relief without consuming
 the Court’s time. The Debtors have negotiated in good faith with opposing counsel on matters
 concerning everything from the use of cash collateral to motions to lift the automatic stay, and have
 made every effort to expend the Debtors’ limited resources judiciously. The Debtors have been
 successful in reaching agreements and filing agreed orders with the Court in many instances.

                                          ARTICLE IX
                           ACCEPTANCE AND CONFIRMATION OF THE PLAN

         Section 9.1    Requirements for Confirmation. At the Confirmation Hearing, the Court
 will determine whether the provisions of section 1129 of the Bankruptcy Code have been satisfied.
 Upon the showing that all such requirements are satisfied, and that all other conditions to confirmation
 set forth in the Plan are met, the Debtors will request that the Bankruptcy Court enter an Order
 confirming the Plan under §1129(a).

         a)          Provisions of Section 1129. Section 1129 of the Bankruptcy Code, as applicable here,
                     provides as follows:

                     (i)      The Plan must comply with the applicable provisions of the
                              Bankruptcy Code, including section 1123 which specifies the
                              mandatory contents of a plan and section 1122 which requires
                              that Claims and Interests be placed in Classes with
                              “substantially similar” Claims and Interests (section
                              1129(a)(1)).

                     (ii)     The Plan Proponents of the Plan must comply with the
                              applicable provisions of the Code (section 1129(a)(2)).

                     (iii)    The Plan must have been proposed in good faith and not by
                              any means forbidden by law (section 1129(a)(3)).

                     (iv)     Any payment made or to be made by the Debtors, or by a
                              person issuing securities or acquiring property under the Plan,
                              for services or for costs and expenses in or in connection with
                              the Chapter 11 Cases, or in connection with the Plan and
                              incident to the Chapter 11 Cases, must be disclosed to the
                              Court and approved or be subject to the approval of the Court
                              as reasonable (section 1129(a)(4)).

                     (v)      The Debtors must disclose the identity and affiliations of any
                              individual proposed to serve, after Confirmation of the Plan,
                              as a director, officer, or voting trustee of the reorganized
                              debtor, of an affiliate of the Debtors participating in the Plan

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                              with the Debtors, or of a successor to the Debtors under the
                              Plan. The appointment to, or continuance in, such office of
                              such individual must be consistent with the interests of the
                              Debtors’ creditors, equity holders, and with public policy. The
                              Plan Proponents must also disclose the identity of any insider
                              that will be employed or retained by the reorganized debtor
                              and the nature of any compensation for such insider (section
                              1129(a)(5)).

                     (vi)     The Plan must meet the “best-interest-of-creditors” test,
                              which requires that each holder of a Claim or Interest of a Class
                              of Claims or Interests that is impaired under the Plan either
                              accept the Plan or receive or retain under the Plan on account
                              of such Claim or Interest property of a value as of the Effective
                              Date of the Plan, that is not less than the amount that such
                              holder would receive or retain if the Debtors were liquidated
                              on such date under chapter 7 of the Code. If the holders of a
                              Class of Secured Claims make an election under section
                              1111(b) of the Code, each holder of a Claim in such electing
                              Class must receive or retain under the Plan on account of its
                              Claim property of a value, as of the Effective Date of the Plan,
                              that is not less than the value of its interest in the Debtors’
                              interest in the property that secures its Claim (section
                              1129(a)(7)). To calculate what non-accepting holders would
                              receive if the Debtors were liquidated under chapter 7, the
                              Court must determine the dollar amount that would be
                              generated upon disposition of the Debtors’ assets and reduce
                              such amount by the costs of liquidation. Such costs would
                              include the fees of a Trustee (as well as those of counsel and
                              other professionals) and all expenses of sale.

                     (vii)    Each Class of Claims or Interests must either accept the Plan
                              or not be impaired under the Plan (section 1129(a)(8)).
                              Alternatively, as discussed herein, the Plan may be confirmed
                              over the dissent of a Class of Claims or Interests if the
                              “cramdown” requirements of section 1129(b) of the
                              Bankruptcy Code are met.

                     (viii)   Except to the extent that the holder of a particular Claim has
                              agreed to a different treatment of such Claim, the Plan must
                              provide that holders of Administrative Claims and Priority
                              Claims (other than tax claims) will be paid in full in cash on the
                              Effective Date of the Plan, and that holders of priority tax
                              Claims will receive on account of such Claims deferred cash
                              payments, over a period not exceeding six (6) years after the
                              date of assessment of such tax, of a value, as of the Effective


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                             Date of the Plan, equal to the Allowed amount of such Claim
                             (section 1129(a)(9)).

                     (ix)    At least one impaired Class must accept the Plan, determined
                             without including the acceptance of the Plan by any insider
                             holding a Claim of such Class (section 1129(a)(10)).

                     (x)     The Plan must be “feasible”. In other words, it cannot be likely
                             that confirmation of the Plan will be followed by the
                             liquidation, or the need for further financial reorganization, of
                             the Debtors or any successor to the Debtors under the Plan,
                             unless such liquidation is proposed in the Plan (section
                             1129(a)(11)).

                     (xi)    All fees required to be paid under the Bankruptcy Code have
                             been paid or the Plan provides for such payment on its
                             Effective Date (section 1129(a)(12)).

         b)          The Plan Meets All of the Requirements for Confirmation. The Plan Proponents
                     believe that the Plan satisfies all statutory requirements of chapter 11 of the Code and
                     should be confirmed. More specifically:

                     (i)     The Plan complies with all of the applicable provisions of the
                             Bankruptcy Code;

                     (ii)    The Plan Proponents have complied with the Bankruptcy
                             Code and have proposed the Plan in good faith;

                     (iii)   All disclosure requirements concerning payments made or to
                             be made for services rendered in connection with the Chapter
                             11 Cases or the Plan have been, or will be met prior to or at
                             the Confirmation Hearing; and

                     (iv)    Administrative Claims, Priority Claims, and fees required to be
                             paid under the Code are appropriately treated under the Plan.

         c)          The Plan is Feasible: Restructuring Alternative: Furthermore, the Plan is feasible.
                     The Bankruptcy Code requires that, as a condition to Confirmation of a plan, the
                     Court find that Confirmation is not likely to be followed by a liquidation or a need for
                     further financial reorganization except as proposed in that plan. The Plan Proponents
                     believe the Plan is feasible as it, under the Restructuring Alternative, provides for
                     payment of creditors in accordance with the waterfall provisions of the Code, and for
                     the continuation of the Debtors’ business pursuant to the Post-Confirmation Business
                     Plan. Initially, the Plan provides for the payment in full of all Allowed Administrative
                     Claims and Priority Claims by the Reorganized Debtors on or promptly after the
                     Effective Date except for Priority Tax Claims which will be paid over time in
                     accordance with the Bankruptcy Code. Next, Confirmation of the Plan shall effect the
                     formation of the Creditors Trust. The Creditors’ Trust Assets shall consist of (a) 10%

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                     of the New Equity of the Reorganized Debtors for the express benefit of creditors
                     holding Allowed Class 11, 12 or 13 Claims against the Debtors, subject to the New
                     Equity Redemption Right, and (b) the Litigation Proceeds.

                     With regard to the Reorganized Debtors’ future business operations, as noted in the
                     Plan the Debtors will file as a Plan Supplement Document the Post-Confirmation
                     Business Plan, which consists of the three year projections of the income and expenses
                     of the Debtors, including payroll, professional fees, operational expenses, and
                     payments due to Allowed Administrative Claims, Priority Tax Claims, and Priority
                     Non-Tax Claims pursuant to the Plan. Upon confirmation of the Plan, the
                     Dealerships will be recapitalized by the $12 million New Equity Infusion from the
                     Plan Sponsor, the Debtors will benefit from the proven operational expertise of the
                     Fin Ewing Group including Mr. Ron Blaylock, and will be well-positioned to
                     accomplish their long-term business and financial goals as outlined in the Plan. The
                     Debtors believe that the projections set forth in the Post-Confirmation Business Plan
                     are conservative and achievable; the Plan is feasible.

         d)          The Plan is Feasible: Liquidating Alternative: As detailed in the Plan, if the
                     Reorganization Process does not yield a Restructuring, the Plan will proceed to
                     confirmation and the Liquidation Trustee will conduct a controlled liquidation of
                     assets via the Liquidation Alternative with BlackBriar Advisors, LLC as the proposed
                     Liquidation Trustee. BlackBriar is the duly employed Chief Restructuring Officer of
                     the Debtors since the inception of these cases and, as such, BlackBriar has
                     irreplaceable institutional knowledge compared to a Chapter 7 trustee, and is best
                     positioned to oversee an orderly liquidation of assets that will result in the highest and
                     best return to all creditors and parties in interest.

                                               ARTICLE X
                                         LIQUIDATION ANALYSIS

         The Plan Proponents believe that the Plan, which either provides for the continued business
 operations of the Debtors, or a controlled orderly liquidation of assets, affords creditors the potential
 for the greatest realization from the Debtors’ assets, and, therefore, is in the best interests of creditors.
 As noted above, the value of the Debtors is in their Dealer Agreements, proven commitment to
 Lubbock and surrounding towns in West Texas, and – post-confirmation - the proven operational
 experience and expertise of the Fin Ewing Group including Mr. Ron Blaylock. If the Reorganization
 Process leads to a Restructuring, then maintaining the Debtors’ deep-seated commitment to the
 community of Lubbock and continuity of business operations pursuant to the Dealer Agreements will
 be the focus of the Debtors’ post-confirmation business, all as set forth in the Restructuring
 Alternative of the Plan and the Post-Confirmation Business Plan.

         If the Plan is instead confirmed via the Liquidation Alternative, same is still preferable to a
 chaotic Chapter 7. By contrast a liquidation of the inventory vehicles at a “fire sale” would yield little
 comparative value to the Debtors’ secured lenders and no value for General Unsecured Creditors.
 Relatedly and to that point, the auction of the new and used vehicles currently in the Debtors’
 possession would not raise nearly enough funds necessary to pay off their respective floor plan lenders



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 that claim superior liens – Ford Credit, GM Financial, First Capital Bank and FB&T. A liquidation
 analysis depicting the likely results of a fire-sale liquidation is attached hereto as Exhibit “C.”

         In a Chapter 7 liquidation scenario, a trustee would be appointed to administer the Estate, to
 resolve pending controversies against the Debtors and claims of the Estates against other parties, and
 to make distribution to Creditors. If the Cases were converted to cases under Chapter 7, significant
 additional Administrative Expenses would be incurred, and any distributions to holders of Claims
 would be substantially delayed and, in all likelihood, reduced as compared to the anticipated results of
 Confirmation of the Plan. A Chapter 7 trustee would be entitled to compensation in accordance with
 the scale set forth in § 326 of the Bankruptcy Code, and might also seek to retain new professionals,
 including attorneys and accountants, in order to resolve any disputed Claims and possibly to pursue
 claims of the Estates against other parties. There is a strong probability that such Chapter 7 trustee
 would not possess any particular knowledge of the Debtors’ industry. The trustee and any such new
 professionals retained by the trustee would need to expend time familiarizing themselves with the
 Debtors’ operations specifically and the industry generally, resulting in a duplication of effort,
 increased expense, and delay in payment to Creditors. Under the Bankruptcy Rules, a new bar date
 for the filing of proofs of claim would have to be set, and additional Claims against the Estates that
 will soon be time-barred (because they were not filed before the applicable bar dates set in the Cases)
 could be asserted.

      THE PLAN PROPONENTS BELIEVE THAT CONFIRMATION AND
 IMPLEMENTATION OF THE PLAN IS PREFERABLE TO ANY OF THE
 ALTERNATIVES DESCRIBED HEREIN BECAUSE IT SHOULD PROVIDE GREATER
 RECOVERIES THAN THOSE AVAILABLE IN A CHAPTER 7 LIQUIDATION TO THE
 HOLDERS OF SECURED AND UNSECURED CLAIMS WHO WOULD LIKELY
 RECEIVE LESS IN A CHAPTER 7 LIQUIDATION. IN ADDITION, OTHER
 ALTERNATIVES WOULD INVOLVE DELAY, UNCERTAINTY, AND SUBSTANTIAL
 ADMINISTRATIVE COSTS.

                                          ARTICLE XI
                                      VOTING PROCEDURES

      ACCEPTANCE OR REJECTION OF THE PLAN WILL BE DETERMINED,
 PURSUANT TO THE BANKRUPTCY CODE, BASED UPON THE ALLOWED CLAIMS
 AND ALLOWED INTERESTS THAT ACTUALLY VOTE ON THE PLAN.
 THEREFORE, IT IS IMPORTANT THAT CLAIMANTS EXERCISE THEIR RIGHT TO
 VOTE TO ACCEPT OR REJECT THE PLAN.

          Section 11.1 Classes Entitled to Vote on the Plan. All members of Impaired Classes who
 hold Allowed Claims are entitled to vote to accept or reject the Plan. Section 1124 of the Bankruptcy
 Code generally provides that a class of claims or interests is considered to be impaired under a plan
 unless the plan does not alter the legal, equitable, and contractual rights of the holders of such claims
 or interest. For purposes of Plan solicitation, Holders of Allowed Claims in Class 1 are Unimpaired;
 therefore, they are presumed to accept the Plan. Holders of Claims in Classes 1A, 2, 3, 4, 5, 6, 7, 8, 9,
 10, 11, 12, 13, 14, and 15 are Impaired under the Plan; therefore, they are entitled to vote to accept or
 reject the Plan. Holders of Allowed Claims in Class 15 will receive no Distributions under the Plan
 on account of said Claims if the Plan is Confirmed under the Restructuring Alternative, and Holders


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 of Allowed Claims in Class 16 and Interests in Class 17 are Impaired and will receive no Distributions
 under the Plan on account of said Claims or Interests; therefore, Classes 16 and 17 are presumed to
 reject the Plan under § 1126(g) of the Bankruptcy Code.

         Section 11.2 Persons Entitled to Vote on the Plan. Only holders of Allowed Claims and
 holders of Disputed Claims which have been temporarily allowed for voting purposes are entitled to
 vote on the Plan. For purposes of the Plan, an Allowed Claim is (i) a Claim against or Interest in a
 Debtor, proof of which, if filed on or before the Bar Date, which is not a Disputed Claim or Disputed
 Interest, (ii) if no proof of claim or interest was so filed, a Claim against or Interest in a Debtor that
 has been or hereafter is listed by a Debtor in the Schedules as liquidated in amount and not disputed
 or contingent, or (iii) a Claim or Interest allowed hereunder or by Final Order. An Allowed Claim or
 Allowed Interest does not include any Claim or Interest or portion thereof which is a Disallowed
 Claim or Disallowed Interest which has been subsequently withdrawn, disallowed, released or waived
 by the holder thereof, by this Plan, or pursuant to Final Order. Unless otherwise specifically provided
 in the Plan, an Allowed Claim or Allowed Interest shall not include any amount for punitive damages
 or penalties. Therefore, although the holders of Disputed Claims will receive ballots, these votes will
 not be counted unless such Claims become Allowed Claims as provided under the Plan or are
 temporarily allowed for voting purposes by the Court.

      THE CLAIMS IN CLASSES 1A, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14 AND 15 UNDER
 THE PLAN ARE IMPAIRED AND ARE ENTITLED TO VOTE WITH RESPECT TO
 ACCEPTANCE OR REJECTION OF THE PLAN. HOLDERS OF ALLOWED CLAIMS
 IN CLASS 15 WILL RECEIVE NO DISTRIBUTIONS UNDER THE PLAN ON
 ACCOUNT OF SAID CLAIMS IF THE PLAN IS CONFIRMED UNDER THE
 RESTRUCTURING ALTERNATIVE, AND HOLDERS OF ALLOWED CLAIMS IN
 CLASS 16 AND INTERESTS IN CLASS 17 ARE IMPAIRED AND WILL RECEIVE NO
 DISTRIBUTIONS UNDER THE PLAN ON ACCOUNT OF SAID CLAIMS OR
 INTERESTS; THEREFORE, THEY ARE PRESUMED TO REJECT THE PLAN.
 INTERESTS IN CLASS 17 WILL BE EXTINGUISHED.

          Section 11.3 Vote Required for Class Acceptance. During the Confirmation Hearing, the
 Bankruptcy Court will determine whether the Classes voting on the Plan have accepted the Plan by
 determining whether sufficient acceptances have been received from the holders of Allowed Claims
 actually voting in such Classes. A Class of Claims will be determined to have accepted the Plan if the
 holders of Allowed Claims in the Class casting votes in favor of the Plan (i) hold at least two-thirds of
 the total amount of the Allowed Claims of the holders in such Class who actually vote and
 (ii) constitute more than one-half in number of holders of the Allowed Claims in such Class who
 actually vote on the Plan.

         As a condition to Confirmation, the Bankruptcy Code requires that each impaired Class of
 Claims or Interests accept the Plan, subject to the “cramdown” exception of §1129(b) described
 herein. To effectuate the §1129(b) exception, at least one impaired Class of Claims must accept the
 Plan.




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         Section 11.4     Voting Instructions.

                     a)   Ballots and Voting. Holders of Allowed Claims entitled to
                          vote on the Plan have been sent a Ballot, together with
                          instructions for voting, with this Disclosure Statement.
                          Claimants should read the Ballot carefully and follow the
                          instructions contained therein. In voting for or against the
                          Plan, please use only the Ballot that accompanies this
                          Disclosure Statement.

      EACH CREDITOR WILL RECEIVE A SINGLE BALLOT ONLY. IF YOU HAVE
 MORE THAN ONE CLAIM AGAINST ONE OF THE DEBTORS, OR YOU HAVE
 CLAIMS AGAINST MORE THAN ONE DEBTOR, YOU MAY REPRODUCE THIS
 BALLOT AS MANY TIMES AS NECESSARY TO PROPERLY VOTE YOUR CLAIMS. IF
 YOU HAVE ANY QUESTIONS CONCERNING THE BALLOT OR VOTING
 PROCEDURES, YOU SHOULD CONTACT COUNSEL FOR THE DEBTORS:

                                      C. ASHLEY ELLIS
                           FOLEY GARDERE, FOLEY & LARDNER LLP
                             2021 MCKINNEY AVENUE, SUITE 1600
                                      DALLAS, TX 75201
                                        (214) 999-3000
                                    AELLIS@FOLEY.COM

                     b)   Returning Ballots and Voting Deadline. You should
                          complete and sign each Ballot that you receive and return it
                          either via email to aellis@foley.com or in the pre-addressed
                          envelope enclosed with each Ballot to the counsel for the
                          Debtor in the self-addressed envelope provided, by the Voting
                          Deadline.

       THE VOTING DEADLINE IS 4:00 P.M., CENTRAL STANDARD TIME, ON
 [____________, 2019]. TO BE COUNTED, BALLOTS MUST BE ACTUALLY RECEIVED
 BY COUNSEL FOR THE DEBTOR VIA EMAIL OR VIA U.S. MAIL OR OTHER
 COURIER ON OR BEFORE 4:00 P.M., CENTRAL STANDARD TIME, ON THE
 VOTING DEADLINE AT THE ADDRESS SET FORTH IN THE BALLOT
 INSTRUCTIONS WHICH ACCOMPANY THE ENCLOSED BALLOT. EXCEPT TO
 THE EXTENT ALLOWED BY THE BANKRUPTCY COURT, BALLOTS RECEIVED
 AFTER THE VOTING DEADLINE MAY NOT BE ACCEPTED OR USED IN
 CONNECTION          WITH     THE  PLAN   PROPONENTS’    REQUEST    FOR
 CONFIRMATION OF THE PLAN OR ANY MODIFICATION THEREOF.

                     c)   Incomplete or Irregular Ballots. Ballots which fail to
                          designate the Class to which they apply shall be counted in the
                          appropriate Class as determined by the Plan Proponents,
                          subject only to contrary determinations by the Bankruptcy
                          Court.


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                     d)    Changing Votes. Bankruptcy Rule 3018(a) permits a
                           Claimant, for cause, to move the Bankruptcy Court to permit
                           such claimant to change or withdraw its acceptance or rejection
                           of a plan of reorganization.

         Section 11.5 Disputed and Unliquidated Claims. Disputed Claims are not entitled to
 vote to accept or reject the Plan. If you are the holder of a Disputed Claim, you may ask the Bankruptcy
 Court pursuant to Bankruptcy Rule 3018 to have your Claim temporarily Allowed for the purpose of
 voting.

          Section 11.6 Possible Reclassification of Creditors and Interest Holders. The Plan
 Proponents are required pursuant to §1122 of the Bankruptcy Code to place Claims and Interests into
 Classes that contain substantially similar Claims or Interests. While the Plan Proponents believe that
 all Claims and Interests are classified in the Plan in compliance with §1122, it is possible that a Claimant
 or Interest holder may challenge the classification of its Claim or Interest. If the Plan Proponents are
 required to reclassify any Claims or Interests of any Claimants or Interest holders under the Plan, the
 Plan Proponents, to the extent permitted by the Bankruptcy Court, intend to continue to use the
 acceptances received from such Claimants or Interest holders pursuant to the solicitation of
 acceptances using this Disclosure Statement for the purpose of obtaining the approval of the Class or
 Classes of which such Claimants or Interest holders are ultimately deemed to be a member. Any
 reclassification of Claimants or Interest holders should affect the Class in which such Claimants or
 Interest holders were initially a member, or any other Class under the Plan, by changing the
 composition of such Class and the required vote thereof for approval of the Plan.

                                      ARTICLE XII
                          CRAMDOWN OR MODIFICATION OF THE PLAN

         Section 12.1 “Cramdown:” Request for Relief under Section 1129(b). If any Impaired
 Class of Claims does not accept the Plan in accordance with § 1129(a) of the Bankruptcy Code, the
 Plan Proponents shall request the Bankruptcy Court to confirm the Plan in accordance with the
 provisions of § 1129(b) of the Bankruptcy Code as to that non-accepting Impaired Class.

         The Court may confirm a plan, even if it is not accepted by all impaired Classes, if a plan has
 been accepted by at least one impaired Class of Claims and the plan meets the “cramdown” provisions
 set forth in § 1129(b) of the Code. The “cramdown” provisions require that the Court find that a plan
 “does not discriminate unfairly” and is “fair and equitable” with respect to each non-accepting
 impaired Class. In the event that all impaired Classes do not vote to accept the Plan, the Plan
 Proponents will request that the Bankruptcy Court nonetheless confirm the Plan pursuant to the
 provisions of § 1129(b) of the Code.

         The Court may find that the Plan is “fair and equitable” with respect to a Class of non-
 accepting impaired Interests only if (a) the holder of an Interest will receive or retain under the Plan
 property of a value as of the Plan’s Effective Date equal to the greatest of any fixed liquidation
 preference or redemption price or the value of such Interest or (b) the holder of any Interest that is
 junior to such Interest will not receive or retain any property under the Plan.

         The Court may find that the Plan is “fair and equitable” with respect to a Class of non-
 accepting impaired Unsecured Claims only if (a) each impaired unsecured Creditor receives or retains

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 under the Plan property of a value as of the Effective Date of such Plan equal to the amount of its
 Allowed Claim, or (b) the holder of any Claim or Interest that is junior to the Claims of the dissenting
 Class will not receive or retain any property under the Plan.

          The Court may find that the Plan is “fair and equitable” with respect to a Class of non-
 accepting Secured Claims, only if, under the Plan, (a) the holder of each Secured Claim in such Class
 retains such holder’s lien and receives deferred cash payments totaling at least the Allowed amount of
 such Secured Claim and having a value, as of the Effective Date of the Plan, equal to or in excess of
 the value of such holder’s interest in the estate’s interest in the collateral for the Secured Claim, (b) the
 collateral for such Secured Claim is sold, the lien securing such Claims attached to the proceeds, and
 such liens on proceeds are afforded the treatment described under clause (a) or (c) of this sentence,
 or (c) the holders of such Secured Claims realize the “indubitable equivalent” of their claims.

         If all of the provisions of section 1129 are met, the Court may enter an order confirming the
 Plan.

         Section 12.2 The Plan Meets the “Best-Interest-of-Creditors” Test. The “best interest
 of creditors” test requires that the Court find that the Plan provides to each non-accepting holder of
 a Claim or Interest treated under the Plan a recovery which has a present value at least equal to the
 present value of the distribution that such person would receive from the Debtor if the Debtor were
 liquidated under Chapter 7 of the Code. An analysis depicting the likely recoveries and effect on
 Creditors in the event of a liquidation under Chapter 7 of the Code is contained on Exhibit C.

          Section 12.3 The Plan Meets the Cramdown Standard with Respect to Any Impaired
 Class of Claims Rejecting the Plan. The Plan satisfies the provisions for cramdown under
 §1129(b)(2) of the Code. Secured Creditors are, at a minimum, receiving (i) payment of their Allowed
 Secured Claim in full in cash, including interest, if applicable, as required under § 506(b) of the
 Bankruptcy Code; (ii) delivery of the Collateral securing their Allowed Secured Claim; or (iii) issuance
 of a restructured note with a present value equal to the amount of the value of their Collateral with
 interest, all in accordance with §1129(b)(2)(A). Interest Holders are not receiving or retaining any
 property under the Plan on account of their Interests, thus the Plan satisfies §1129(b)(2)(B)(ii) should
 a Class of Unsecured Claims reject the Plan. In the event that an impaired Class rejects the Plan, the
 Plan shall be deemed a motion for cramdown of such Class under §1129(b)(2) of the Code.

          Section 12.4 Modification or Revocation of the Plan; Severability. Subject to the
 restrictions on modifications set forth in §1127 of the Bankruptcy Code and any applicable notice
 requirements, the Plan Proponents reserve the right to alter, amend or modify the Plan before its
 substantial consummation. The Plan Proponents also reserve the right to withdraw the Plan prior to
 the Confirmation Date. If the Plan Proponents withdraw the Plan, or if Confirmation does not occur,
 then the Plan shall be null and void in all respects, and nothing contained in the Plan will prejudice in
 any manner the rights of the Debtors.

         If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court
 to be invalid, void, or unenforceable, the Bankruptcy Court, at the request of the Plan Proponents,
 has the power to alter and interpret such term or provision to make it valid or enforceable to the
 maximum extent practicable, consistent with the original purpose of the term or provision held to be
 invalid, void, or unenforceable, and such term or provision will then be applicable as altered or


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 interpreted. Notwithstanding any such holding, alteration, or interpretation, the remainder of the
 terms and provisions of the Plan will remain in full force and effect and will in no way be affected,
 impaired or invalidated by such holding, alteration, or interpretation.

                                           ARTICLE XIII
                                           RISK FACTORS

         Section 13.1 Factors Relating to Chapter 11 and Restructuring via the Plan. The
 following is intended as a summary of certain risks associated with the Plan, but is not exhaustive and
 must be supplemented by the analysis and evaluation of the Plan and this Disclosure Statement made
 by each Claimant as a whole in consultation with such Claimant’s own advisors. In the event of a
 Restructuring, it is unlikely, although possible, that the Debtors will not be able to procure floor plan
 financing, that the parties to the Dealer Agreements could seek termination, or the projections set
 forth in the Post-Confirmation Business Plan will not be met. The fact remains, however, that in order
 for General Unsecured Creditors to be paid, and for Ford Credit, GM Financial, First Capital Bank
 or FB&T, to maximize recovery for the Debtors’ business operations must continue post-
 confirmation. This risk, however, is not exclusive to the Plan. The value of the Debtors’ estates is
 inexorably tied to the value of their inventory and the goodwill “Blue Sky” value that may be realized
 from continued operations of the Dealerships at the Locations, whether the Plan is confirmed or not.
 The Plan Proponents believe that the business model proposed via the Plan and the Post-
 Confirmation Business Plan is reasonable, feasible and achievable. If the Plan is confirmed and the
 Reorganized Debtors continue to operate and sell vehicles, the Plan Proponents believe that the risk
 that the Post-Confirmation Business Plan will not be realized is minimal.

          Section 13.2 Insufficient Acceptances. The Plan may not be confirmed without sufficient
 accepting votes. Each impaired Class of Claims and Interests receiving a distribution under the Plan
 is given the opportunity to vote to accept or reject the Plan. The Plan will be accepted by a Class of
 impaired Claims if the Plan is accepted by Claimants in such Class actually voting on the Plan who
 hold at least two-thirds (2/3) in amount and more than one-half (1/2) in number of the total Allowed
 Claims of that Class which actually vote. The Plan will be accepted by a Class of impaired Interests if
 it is accepted by holders of Interests in such Class actually voting on the Plan who hold at least
 two-thirds (2/3) in amount of the total Allowed Interests of the Class which actually vote. However,
 an Interest Holder is deemed to have rejected the Plan and is therefore not entitled to vote on the
 Plan. Only those members of a Class who vote to accept or reject the Plan will be counted for voting
 purposes. If any impaired Class of Claims under the Plan fails to provide acceptance levels sufficient
 to meet the minimum Class vote requirements but at least one impaired Class of Claims accepts the
 Plan, then, subject to the provisions of the Plan, the Plan Proponents intend to request confirmation
 of the Plan under Section 1129(b) of the Bankruptcy Code.

          Section 13.3 Lack of Material Recoveries on the Causes of Action. There is a risk that
 the litigation intended to be brought by the Creditors’ Trust or the Liquidation Trust, as the case may
 be, under the Plan will not yield any material net recoveries for the payment of creditors. Risk is an
 inescapable part of any litigation, and exists independent of Chapter 11 and the Plan. The Plan




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 Proponents cannot guarantee that the net proceeds from the Causes of Action will exceed a certain
 amount under either a Restructuring or Liquidation.

                              ARTICLE XIV
          CERTAIN FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

         The following discussion summarizes certain possible federal income tax consequences of the
 Plan to the Debtors, and to the holders of Claims and Interests. It is based on the Bankruptcy Code,
 Treasury Regulations, and administrative and judicial interpretations thereof that are now in effect,
 but which could change, even retroactively, at any time. This disclosure is provided for informational
 purposes only. Moreover, this disclosure summarizes only certain of the federal income-tax
 consequences associated with the Plan’s confirmation and implementation. This discussion does not
 address all aspects of federal, state, and local tax laws that could impact the various classes of
 Claimants, the holders of Interests or the Debtors.

      NO RULING HAS BEEN SOUGHT OR OBTAINED FROM THE IRS WITH
 RESPECT TO ANY OF THE TAX ASPECTS OF THE PLAN AND NO OPINION OF
 COUNSEL HAS BEEN OBTAINED BY THE PLAN PROPONENTS WITH RESPECT
 THERETO. NO REPRESENTATIONS OR ASSURANCES ARE BEING MADE WITH
 RESPECT TO THE FEDERAL INCOME TAX CONSEQUENCES AS DESCRIBED
 HEREIN. CERTAIN TYPES OF CLAIMANTS AND INTEREST HOLDERS MAY BE
 SUBJECT TO SPECIAL RULES NOT ADDRESSED IN THIS SUMMARY OF FEDERAL
 INCOME TAX CONSEQUENCES. FURTHER, STATE, LOCAL, OR FOREIGN TAX
 CONSIDERATIONS MAY APPLY TO A HOLDER OF A CLAIM OR INTEREST
 WHICH ARE NOT ADDRESSED HEREIN. BECAUSE THE TAX CONSEQUENCES
 OF THE PLAN ARE COMPLEX AND MAY VARY BASED ON INDIVIDUAL
 CIRCUMSTANCES, EACH HOLDER OF A CLAIM OR INTEREST AFFECTED BY
 THE PLAN MUST CONSULT, AND RELY UPON, HIS OR HER OWN TAX ADVISOR
 REGARDING THE SPECIFIC TAX CONSEQUENCES OF THE PLAN WITH
 RESPECT TO THAT HOLDER’S CLAIM OR INTEREST. THIS INFORMATION MAY
 NOT BE USED OR QUOTED IN WHOLE OR IN PART IN CONNECTION WITH
 THE OFFERING FOR SALE OF SECURITIES.

         Under the IRC, a taxpayer generally must include in gross income the amount of any discharge
 of indebtedness income realized during the taxable year. A Creditor who receives cash or other
 consideration in satisfaction of any Claim may recognize ordinary income. The impact of such
 ordinary income, as well as the tax year for which the income shall be recognized, shall depend upon
 the individual circumstances of each Claimant, including the nature and manner of organization of the
 Claimant, the applicable tax bracket for the Claimant, and the taxable year of the Claimant. Each
 Creditor is urged to consult with its tax advisor regarding the tax implications of any payments or
 distributions under the Plan.

          In general, the principal federal income tax consequences of the Plan to holders of Claims will
 be (a) recognition of loss or a bad debt deduction to the extent that the total payments received under
 the Plan with respect to the Claim are less than the adjusted basis of the holder in such Claim, or (b)
 recognition of taxable income by the holder of the Claim to the extent of the excess of the amount of
 any payments made under the Plan in respect of the Claim over the holder’s adjusted basis therein.


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         Common examples of holders of Claims who may recognize taxable income upon receipt of
 payments under the Plan include (a) former employees with Claims for services rendered while serving
 as employees of a Debtor, (b) trade creditors whose Claims represent an item not previously reported
 in income (including Claims for lost income upon rejection of leases or other contracts with a Debtor),
 (c) holders of Claims who had previously claimed a bad debt deduction with respect to their Claims
 in excess of their ultimate economic loss, and (d) holders of Claims that include amounts of pre-
 petition interest that had not previously been reported in income. Common examples of Claims who
 may recognize a loss or deduction for tax purposes as a result of implementation of the Plan, provided
 that such holders are not paid in full, include holders of Claims that arose out of cash actually loaned
 or advanced to a Debtor, and holders of Claims consisting of items that were previously included in
 income of such holders on the accrual method of accounting, to the extent, in both cases, that the
 economic loss to such holders has not been allowed as a tax deduction in a prior year.

          The amount and character or any resulting income or loss recognized for federal income tax
 consequences to a holder of any Claim as a result of implementation of the Plan will, however, depend
 on many factors. The most significant of these factors include (a) the nature and origin of the Claim,
 (b) whether the holder is a corporation (c) the extent to which the Plan provides for payment of the
 particular Claim, (d) the extent to which any payment made is allocable to pre-petition interest which
 is part of such Claim, and (e) the prior tax reporting positions taken by the holder with respect to the
 item that constitutes the Claim. As to the last factor, relevant tax reporting positions include whether
 the holder had to report under its method of accounting any portion of the Claim (including accrued
 and unpaid interest) as income prior to receipt and whether the holder previously claimed a bad debt
 or worthlessness deduction with respect to the Claim, which would affect the adjusted basis of the
 holder in the Claim.

      THE FOREGOING IS INTENDED TO BE A SUMMARY ONLY AND NOT A
 SUBSTITUTE FOR CAREFUL TAX PLANNING OR CONSULTATION WITH A TAX
 ADVISOR. THE FEDERAL, STATE, LOCAL, AND FOREIGN TAX CONSEQUENCES
 OF THE PLAN ARE COMPLEX AND, IN SOME CASES, UNCERTAIN. SUCH
 CONSEQUENCES MAY ALSO VARY BASED UPON THE INDIVIDUAL
 CIRCUMSTANCES OF EACH HOLDER OF A CLAIM OR INTEREST.
 ACCORDINGLY, EACH HOLDER OF A CLAIM OR INTEREST IS STRONGLY
 URGED TO CONSULT WITH HIS OR HER OWN TAX ADVISOR REGARDING THE
 FEDERAL, STATE, LOCAL, AND FOREIGN TAX CONSEQUENCES OF THE PLAN.

      IRS CIRCULAR 230 NOTICE: TO ENSURE COMPLIANCE WITH
 REQUIREMENTS IMPOSED BY THE INTERNAL REVENUE SERVICE, THE
 DEBTOR INFROMS ALL RECIPIENTS OF THIS DISCLOSURE STATEMENT THAT
 ANY U.S. TAX INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT
 (INCLUDING THE EXHIBITS HERETO) IS NOT INTENDED OR WRITTEN TO BE
 USED, AND CANNOT BE USED, FOR THE PURPOSE OF (A) AVOIDING
 PENALTIES UNDER THE INTERNAL REVENUE CODE, OR (B) PROMOTING,
 MARKETING, OR RECOMMENDING TO ANOTHER PARTY ANY TRANSACTION
 OR MATTER ADDRESSED HEREIN.




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                                  ARTICLE XV
                     RECOMMENDATION OF THE PLAN PROPONENTS

        The Plan Proponents believe the Plan is in the best interests of all Creditors. Accordingly, the
 Plan Proponents recommend that you vote for acceptance of the Plan and hereby solicit your
 acceptance of the Plan.




 DATED: July 1, 2019                            Respectfully submitted,

                                                Reagor-Dykes Motors, LP et al.

                                                By:     /s/ Robert Schleizer
                                                        Chief Restructuring Officer


 Prepared by:

 Marcus A. Helt (TX 24052187)
 C. Ashley Ellis (TX 00794824)
 FOLEY GARDERE
 FOLEY & LARDNER
 2021 McKinney Avenue, Suite 1600
 Dallas, TX 75201
 Telephone: (214) 999-3000
 Facsimile: (214) 999-4667

 COUNSEL FOR DEBTORS AND
 DEBTORS-IN-POSSESSION



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